19-10384-shl      Doc 252       Filed 03/25/19       Entered 03/25/19 20:01:05              Main Document
                                                   Pg 1 of 70




UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re                                                              Chapter 11

TRIDENT HOLDING COMPANY, LLC, et al.,                              Case No. 19-10384 (SHL)

                 Debtors.1                                         (Jointly Administered)


    JOINT PLAN OF REORGANIZATION OF TRIDENT HOLDING COMPANY, LLC
                      AND ITS DEBTOR AFFILIATES

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Dated:           March 25, 2019




1
    The Debtors in these chapter 11 cases, along with the last four digits of their respective tax identification
    numbers, are as follows: Trident Holding Company, LLC (6396); American Diagnostics Services, Inc. (2771);
    Community Mobile Diagnostics, LLC (9341); Community Mobile Ultrasound, LLC (3818); Diagnostic Labs
    Holdings, LLC (8024); FC Pioneer Holding Company, LLC (6683); JLMD Manager, LLC (8470); Kan-Di-Ki
    LLC (6100); Main Street Clinical Laboratory, Inc. (0907); MDX-MDL Holdings, LLC (2605); MetroStat
    Clinical Laboratory – Austin, Inc. (4366); MX Holdings, LLC (8869); MX USA, LLC (4885); New Trident
    Holdcorp, Inc. (4913); Rely Radiology Holdings, LLC (3284); Schryver Medical Sales and Marketing, LLC
    (9620); Symphony Diagnostic Services No. 1, LLC (8980); Trident Clinical Services Holdings, Inc. (6262);
    Trident Clinical Services Holdings, LLC (1255); TridentUSA Foot Care Services LLC (3787); TridentUSA
    Mobile Clinical Services, LLC (0334); TridentUSA Mobile Infusion Services, LLC (5173); U.S. Lab &
    Radiology, Inc. (4988). The address of the Debtors’ corporate headquarters is 930 Ridgebrook Road, 3rd Floor,
    Sparks, MD 21152.
19-10384-shl     Doc 252           Filed 03/25/19            Entered 03/25/19 20:01:05                          Main Document
                                                           Pg 2 of 70


                                             TABLE OF CONTENTS

                                                                                                                                    Page

                                                           Article I

                                DEFINITIONS, RULES OF
                      INTERPRETATION, AND COMPUTATION OF TIME

A.             Scope of Definitions ................................................................................................1
B.             Definitions................................................................................................................1
C.             Rules of Interpretation ...........................................................................................19
D.             Computation Of Time ............................................................................................20
E.             References to Monetary Figures ............................................................................20
F.             Certain Consent Rights ..........................................................................................20
G.             Exhibits ..................................................................................................................20

                                                           Article II

                  ADMINISTRATIVE EXPENSES AND PRIORITY CLAIMS

      2.1      Administrative Claims ...........................................................................................20
      2.2      DIP Facility Claims................................................................................................21
      2.3      Professional Claims ...............................................................................................21
      2.4      Priority Tax Claims ................................................................................................22

                                                          Article III

     CLASSIFICATION, TREATMENT, AND VOTING OF CLAIMS AND INTERESTS

      3.1      Classification of Claims and Interests....................................................................23

                                                          Article IV

                                      PROVISIONS FOR TREATMENT
                                       OF CLAIMS AND INTERESTS

      4.1      Priority First Lien Claims ......................................................................................25
      4.2      First Lien Claims....................................................................................................25
      4.3      Second Lien Claims ...............................................................................................26
      4.4      Other Secured Claims ............................................................................................27
      4.5      Other Priority Claims .............................................................................................28
      4.6      General Unsecured Claims ....................................................................................28
      4.7      PIK Note Claims ....................................................................................................28
      4.8      Intercompany Claims .............................................................................................29
      4.9      Other Subordinated Claims ....................................................................................29
      4.10     Interests in Debtor Subsidiaries .............................................................................30
      4.11     Interests in Pioneer .................................................................................................30
                                                                 i
19-10384-shl     Doc 252          Filed 03/25/19            Entered 03/25/19 20:01:05                        Main Document
                                                          Pg 3 of 70

                                                         Article V

                                                    ACCEPTANCE

      5.1      Classes Entitled to Vote .........................................................................................30
      5.2      Acceptance by Impaired Classes ...........................................................................30
      5.3      Elimination of Classes ...........................................................................................31
      5.4      Special Provision Governing Unimpaired Claims .................................................31
      5.5      Deemed Acceptance if No Votes Cast ...................................................................31
      5.6      Cramdown ..............................................................................................................31

                                                         Article VI

                         MEANS FOR IMPLEMENTATION OF THE PLAN

      6.1      No Substantive Consolidation................................................................................31
      6.2      General Settlement of Claims and Interests ...........................................................31
      6.3      Restructuring Transactions. ...................................................................................31
      6.4      Sources of Cash for Plan Distribution ...................................................................32
      6.5      Exit Liquidity Facility ............................................................................................32
      6.6      Exit Term Loan Facility .........................................................................................33
      6.7      New First Lien Facility ..........................................................................................33
      6.8      Authorization, Issuance, and Distribution of New Pioneer Units ..........................33
      6.9      General Unsecured Claims Cash Pool. ..................................................................33
      6.10     Exemptions from Securities Act Registration Requirements ................................33
      6.11     Cancellation of Existing Securities and Agreements .............................................34
      6.12     Issuance and Distribution of New Securities; Execution of Plan
               Documents .............................................................................................................34
      6.13     Continued Corporate Existence .............................................................................34
      6.14     New Corporate Governance Documents ...............................................................35
      6.15     Directors, LLC Managers, and Officers of Reorganized Debtors .........................35
      6.16     Corporate Action ....................................................................................................35
      6.17     Effectuating Documents; Further Transactions .....................................................36
      6.18     Employment, Retirement, Indemnification, and Other Agreements and
               Employee Compensation Programs .......................................................................36
      6.19     Preservation Of Causes Of Action .........................................................................37
      6.20     Reservation of Rights .............................................................................................37
      6.21     Exemption from Certain Transfer Taxes and Recording Fees ...............................38
      6.22     Insured Claims .......................................................................................................38
      6.23     Intercompany Account Settlement. ........................................................................38
      6.24     Closing of Chapter 11 Cases. .................................................................................38
      6.25     Private Company. ...................................................................................................38

                                                        Article VII

                   UNEXPIRED LEASES AND EXECUTORY CONTRACTS

      7.1      Rejection of Executory Contracts and Unexpired Leases......................................38

                                                               ii
19-10384-shl     Doc 252           Filed 03/25/19            Entered 03/25/19 20:01:05                           Main Document
                                                           Pg 4 of 70

      7.2      Assumption of Executory Contracts and Unexpired Leases..................................39
      7.3      Insurance Policies ..................................................................................................40
      7.4      Cure Procedures and Payments Related to Assumption of Executory
               Contracts and Unexpired Leases ............................................................................41
      7.5      Contracts, Intercompany Contracts, and Leases Entered into After the
               Petition Date...........................................................................................................42
      7.6      General Reservation of Rights ...............................................................................42

                                                         Article VIII

        PROCEDURES FOR RESOLVING DISPUTED CLAIMS AND INTERESTS

      8.1      Determination Of Claims and Interests..................................................................43
      8.2      GUC Administrator ................................................................................................43
      8.3      Claims Administration Responsibility ...................................................................44
      8.4      Objections to Claims ..............................................................................................44
      8.5      Disallowance of Claims .........................................................................................44
      8.6      Estimation of Claims..............................................................................................44
      8.7      No Interest on Claims ............................................................................................45
      8.8      Amendments to Claims ..........................................................................................45

                                                          Article IX

                            PROVISIONS GOVERNING DISTRIBUTIONS

      9.1      Time of Distributions .............................................................................................45
      9.2      Distribution Agent .................................................................................................45
      9.3      Currency.................................................................................................................45
      9.4      Distributions on Account of Claims Allowed as of the Effective Date .................46
      9.5      Distributions on Account of Claims Allowed After the Effective Date ................46
      9.6      Delivery Of Distributions ......................................................................................47
      9.7      Accrual of Dividends and Other Rights .................................................................49
      9.8      Compliance Matters ...............................................................................................49
      9.9      Claims Paid or Payable by Third Parties ...............................................................49
      9.10     Setoffs ....................................................................................................................50
      9.11     Allocation of Plan Distributions Between Principal and Interest ..........................50

                                                           Article X

                    EFFECT OF THE PLAN ON CLAIMS AND INTERESTS

      10.1     Vesting of Assets ...................................................................................................50
      10.2     Discharge of the Debtors .......................................................................................51
      10.3     Release by Debtors ................................................................................................51
      10.4     Release by Holders of Claims ................................................................................52
      10.5     Exculpation and Limitation of Liability ................................................................52
      10.6     Exclusions and Limitations on Exculpation, Indemnification, and Releases ........53
      10.7     Injunction ...............................................................................................................53
      10.8     Subordination Rights .............................................................................................54
                                                             iii
19-10384-shl     Doc 252           Filed 03/25/19            Entered 03/25/19 20:01:05                          Main Document
                                                           Pg 5 of 70

      10.9     Protection Against Discriminatory Treatment .......................................................55
      10.10    Recoupment ...........................................................................................................55
      10.11    Release of Liens .....................................................................................................55
      10.12    Reimbursement or Contribution ............................................................................55

                                                          Article XI

                                           CONDITIONS PRECEDENT

      11.1     Conditions to Confirmation ...................................................................................55
      11.2     Conditions to the Effective Date of the Plan .........................................................56
      11.3     Waiver of Conditions Precedent ............................................................................56
      11.4     Notice of Effective Date ........................................................................................57
      11.5     Effect of Non-Occurrence of Conditions to Consummation .................................57

                                                         Article XII

                                       RETENTION OF JURISDICTION

                                                         Article XIII

                                      MISCELLANEOUS PROVISIONS

      13.1     Binding Effect ........................................................................................................59
      13.2     Payment of Statutory Fees .....................................................................................59
      13.3     Modification and Amendments..............................................................................59
      13.4     Confirmation of the Plan ........................................................................................59
      13.5     Additional Documents ...........................................................................................59
      13.6     Dissolution of Creditors’ Committee .....................................................................60
      13.7     Request for Expedited Determination of Taxes .....................................................60
      13.8     Revocation, Withdrawal, or Non-Consummation .................................................60
      13.9     Notices ...................................................................................................................60
      13.10    Term of Injunctions or Stays..................................................................................62
      13.11    Governing Law ......................................................................................................62
      13.12    Entire Agreement ...................................................................................................62
      13.13    Severability ............................................................................................................62
      13.14    No Waiver or Estoppel...........................................................................................62
      13.15    Conflicts .................................................................................................................63




                                                                iv
19-10384-shl       Doc 252       Filed 03/25/19       Entered 03/25/19 20:01:05   Main Document
                                                    Pg 6 of 70

                                                 EXHIBITS2

Exhibit 2.1               Administrative Claim Request Form

Exhibit 6.6               Exit Term Loan Facility Credit Agreement

Exhibit 6.14              Pioneer LLC Agreement

Exhibit 6.19              Retained Causes of Action

Exhibit 7.1               Assumed Executory Contracts and Unexpired Leases




2
    The Exhibits will be filed with the Plan Supplement.


                                                           v
19-10384-shl    Doc 252      Filed 03/25/19     Entered 03/25/19 20:01:05        Main Document
                                              Pg 7 of 70



                                       INTRODUCTION

                Trident Holding Company, LLC and certain of its affiliates, the debtors and
debtors in possession (collectively, the “Company”) in the above-captioned cases (the “Chapter
11 Cases”), hereby propose this joint plan (this “Plan”) for the resolution of the outstanding
Claims and Interests. Capitalized terms used herein shall have the meanings ascribed to them in
Article I.B of this Plan.

               The Debtors are the proponents of this Plan within the meaning of section 1129 of
the Bankruptcy Code. Under section 1125(b) of the Bankruptcy Code, a vote to accept or reject
this Plan cannot be solicited from a Holder of a Claim or Interest until a disclosure statement has
been approved by the Bankruptcy Court and distributed to Holders of Claims and Interests. The
Disclosure Statement relating to this Plan was approved by the Bankruptcy Court on [ ], 2019
and has been made available to all parties whose votes are being solicited. The Disclosure
Statement contains, among other things, a discussion of the Debtors’ history, business, properties
and operations, risk factors associated with the business and Plan, a summary and analysis of this
Plan, a summary and analysis of the settlements contained in the Plan, and certain related
matters.

          ALL HOLDERS OF CLAIMS WHO ARE ENTITLED TO VOTE ARE
ENCOURAGED TO READ THE PLAN AND THE DISCLOSURE STATEMENT IN
THEIR ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THIS PLAN.

               Subject to the restrictions and requirements set forth in section 1127 of the
Bankruptcy Code and Bankruptcy Rule 3019 and those restrictions on modifications set forth in
Article XIII of this Plan, the Debtors expressly reserve their rights to alter, amend, modify,
revoke, or withdraw this Plan, one or more times, prior to this Plan’s substantial consummation.

                                           ARTICLE I

                           DEFINITIONS, RULES OF
                  INTERPRETATION, AND COMPUTATION OF TIME

A.     Scope of Definitions

                For purposes of this Plan, except as expressly provided otherwise or unless the
context requires otherwise, all capitalized terms not otherwise defined shall have the meanings
ascribed to them in Article I.B of this Plan. Any term used in this Plan that is not defined herein,
but is defined in the Bankruptcy Code or the Bankruptcy Rules, shall have the meaning ascribed
to that term in the Bankruptcy Code or the Bankruptcy Rules.

B.     Definitions

              1.1     “Accepting Class” means a Class that votes to accept the Plan in
accordance with section 1126 of the Bankruptcy Code.



                                                 1
19-10384-shl       Doc 252   Filed 03/25/19     Entered 03/25/19 20:01:05       Main Document
                                              Pg 8 of 70


               1.2     “Administrative Claim” means a Claim for payment of an administrative
expense of a kind specified in section 503(b) of the Bankruptcy Code and entitled to priority
pursuant to section 507(a)(2) of the Bankruptcy Code, including, but not limited to, the actual,
necessary costs and expenses, incurred on or after the Petition Date, of preserving the Estates and
operating the business of the Debtors, including wages, salaries, or commissions for services
rendered after the commencement of the Chapter 11 Cases, Section 503(b)(9) Claims, DIP
Facility Claims, Professional Claims, and all fees and charges assessed against the Estates under
chapter 123 of title 28 of the United States Code, and all Allowed Claims that are entitled to be
treated as Administrative Claims pursuant to a Final Order of the Bankruptcy Court.

              1.3    “Administrative Claim Request Form” means the form to be included in
the Plan Supplement for submitting Administrative Claims requests.

               1.4     “Administrative Claims Bar Date” means the deadline for filing proofs
of or requests for payment of Administrative Claims, which shall be 30 days after the Effective
Date, unless otherwise ordered by the Bankruptcy Court, and except with respect to the DIP
Facility Claims and Professional Claims, which shall be subject to the provisions of Articles 2.2
and 2.3 hereof, as applicable.

              1.5    “Affiliates” has the meaning ascribed to such term by section 101(2) of
the Bankruptcy Code.

               1.6     “Allowed” means, for distribution purposes, a Claim or Interest, or any
portion thereof, or a particular Class of Claims or Interests (a) that has been allowed by a Final
Order of the Bankruptcy Court (or such other court as the Reorganized Debtor and the Holder of
such Claim or Interest agree may adjudicate such Claim or Interest and objections thereto), (b)
which is not the subject of a proof of Claim timely filed with the Bankruptcy Court and is
Scheduled as liquidated and noncontingent, other than a Claim that is Scheduled at zero, in an
unknown amount, or as disputed, but only to the extent such Claim is Scheduled as liquidated
and noncontingent, (c) for which a proof of Claim in a liquidated amount has been timely filed
with the Bankruptcy Court pursuant to the Bankruptcy Code, any Final Order of the Bankruptcy
Court or other applicable bankruptcy law, and as to which (i) no objection to its allowance has
been filed within the periods of limitation fixed by this Plan, the Bankruptcy Code or by any
order of the Bankruptcy Court, (ii) any objection to its allowance has been settled or withdrawn,
or has been denied by a Final Order of the Bankruptcy Court, or, (iii) following the Effective
Date, with respect to General Unsecured Claims, as otherwise may be determined by the GUC
Administrator, or (d) that is expressly allowed in a liquidated amount pursuant to this Plan.

                  1.7   “Annual Incentive Plan” means the Company’s annual ordinary course
incentive plan.

               1.8    “Assumption and Rejection Procedures” means the expedited
procedures for the Debtors to assume or reject Executory Contracts and Unexpired Leases
pursuant to the Bankruptcy Court’s order dated March 8, 2019 (Docket No. 171).

               1.9     “Avoidance Actions” means any and all actual or potential claims and
causes of action to avoid a transfer of property or an obligation incurred by the Debtors and their

                                                 2
19-10384-shl    Doc 252     Filed 03/25/19     Entered 03/25/19 20:01:05       Main Document
                                             Pg 9 of 70


recovery, subordination, or other remedies that may be brought by and on behalf of the Debtors
and their estates under the Bankruptcy Code or applicable non-bankruptcy law, including actions
or remedies under section 502, 544, 545, 547, 548, 550, 553, and 724(a) of the Bankruptcy Code.

              1.10 “Bankruptcy Code” means the Bankruptcy Reform Act of 1978, as
amended and codified in title 11 of the United States Code, 11 U.S.C. §§ 101-1532, as in effect
on the date hereof but, with respect to amendments to the Bankruptcy Code subsequent to
commencement of the Chapter 11 Cases, only to the extent that such amendments were made
expressly applicable to bankruptcy cases which were filed as of the enactment of such
amendments.

              1.11 “Bankruptcy Court” means the United States Bankruptcy Court for the
Southern District of New York or such other court as may have jurisdiction over the Chapter 11
Cases.

              1.12 “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure
and the Official Bankruptcy Forms, as amended, the Federal Rules of Civil Procedure, as
amended, as applicable to the Chapter 11 Cases or proceedings therein, and the Local Rules of
the Bankruptcy Court, as applicable to the Chapter 11 Cases or proceedings therein, as the case
may be.

              1.13 “Bar Date” means the deadlines set by the Bankruptcy Court pursuant to
the Bar Date Order or other Final Order for filing proofs of claim in the Chapter 11 Cases, as the
context may require.

            1.14 “Bar Date Order” means the order entered by the Bankruptcy Court on
[ ], 2019 (Docket No. [ ]) and any subsequent order supplementing such order or relating
thereto.

              1.15 “Business Day” means any day, excluding Saturdays, Sundays, and “legal
holidays” (as defined in Bankruptcy Rule 9006(a)), on which commercial banks are open for
business in New York City.

               1.16 “Capital Raising Transaction” means, to the extent reasonably necessary
in the Debtors’ business judgment and with the consent of the Priority First Lien Administrative
Agent, a capital-raising or liquidity-generating transaction arranged by the Priority First Lien
Administrative Agent to provide the Debtors with sufficient capital (whether in the form of exit
financing or otherwise) to allow for the implementation and effectiveness of the Plan, on terms
and conditions reasonably acceptable to the Debtors.

               1.17    “Cash” means legal tender of the United States of America and
equivalents thereof.

               1.18 “Causes of Action” means any and all actions, claims, proceedings,
causes of action, suits, accounts, demands, controversies, agreements, promises, rights to legal
remedies, rights to equitable remedies, rights to payment and claims, whether known, unknown,
reduced to judgment, not reduced to judgment, liquidated, unliquidated, fixed, contingent,
matured, unmatured, disputed, undisputed, secured or unsecured, and whether asserted or

                                                3
19-10384-shl    Doc 252      Filed 03/25/19 Entered 03/25/19 20:01:05            Main Document
                                           Pg 10 of 70


assertable, in contract or in tort, directly or derivatively, in law, equity or otherwise, including
actions brought prior to the Petition Date, actions under chapter 5 of the Bankruptcy Code,
including any Avoidance Action, and actions against any Entity for failure to pay for products or
services provided or rendered by any Debtor, all claims, suits or proceedings relating to
enforcement of the Debtors’ intellectual property rights, including patents, copyrights and
trademarks, and all claims or causes of action seeking recovery of the Debtors’ or the
Reorganized Debtors’ accounts receivable or other receivables or rights to payment created or
arising in the ordinary course of the Debtors’ or the Reorganized Debtors’ businesses, based in
whole or in part upon any act or omission or other event occurring prior to the Petition Date or
during the course of the Chapter 11 Cases, including through the Effective Date.

               1.19    “Certificate” means any instrument evidencing a Claim or an Interest.

               1.20 “Chapter 11 Cases” means the voluntary cases commenced by the
Debtors under chapter 11 of the Bankruptcy Code, which are being jointly administered and are
currently pending before the Bankruptcy Court under Case No. 19-10384 (SHL).

                1.21 “Claim” means a claim against the Debtors, whether or not asserted, as
defined in section 101(5) of the Bankruptcy Code, or an Administrative Claim, as applicable.

               1.22    “Claims and Solicitation Agent” means Epiq Corporate Restructuring
LLC.

               1.23 “Claims Objection Deadline” means, as applicable (except for
Administrative Claims), (a) the day that is the later of the first Business Day that is at least 180
days after the Effective Date or (b) such later date as may be established by the Bankruptcy
Court upon request of the Reorganized Debtors without further notice to parties-in-interest.

                 1.24 “Class” means a category of Holders of Claims or Interests classified
together pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code, as described in
Article III of this Plan.

              1.25 “Confirmation” means the entry, within the meaning of Bankruptcy
Rules 5003 and 9012, of the Confirmation Order, subject to all conditions specified in Article
11.1 having been satisfied or waived, in accordance with the terms herein.

               1.26    “Confirmation Date” means the date on which Confirmation occurs.

               1.27 “Confirmation Hearing” means the hearing before the Bankruptcy Court
held under section 1128 of the Bankruptcy Code to consider confirmation of the Plan and related
matters as such hearing may be adjourned or continued from time to time.

               1.28 “Confirmation Order” means the order of the Bankruptcy Court
confirming this Plan under section 1129 of the Bankruptcy Code.

              1.29 “Creditor” has the meaning ascribed to such term in section 101(10) of
the Bankruptcy Code.


                                                 4
19-10384-shl    Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05           Main Document
                                          Pg 11 of 70


               1.30 “Creditors’ Committee” means the official committee of unsecured
creditors appointed pursuant to section 1102(a) of the Bankruptcy Code in the Chapter 11 Cases
on February 20, 2019, as may be reconstituted from time to time.

               1.31 “Cure” means the payment or other honoring of all obligations required to
be paid or honored in connection with assumption of an Executory Contract or Unexpired Lease
pursuant to section 365 of the Bankruptcy Code, including (a) the cure of any non-monetary
defaults to the extent required, if at all, pursuant to section 365 of the Bankruptcy Code, and
(b) with respect to monetary defaults, the distribution, within a reasonable period of time
following the Effective Date, of Cash, or such other property as may be agreed upon by the
parties or ordered by the Bankruptcy Court, with respect to the assumption (or assumption and
assignment) of an Executory Contract or Unexpired Lease, pursuant to section 365(b) of the
Bankruptcy Code, in an amount equal to all unpaid monetary obligations or such other amount as
may be agreed upon by the parties, under such Executory Contract or Unexpired Lease, to the
extent such obligations are enforceable under the Bankruptcy Code and applicable non-
bankruptcy law.

               1.32 “Cure Notice” means the notice of proposed Cure amount provided to
counterparties to assumed Executory Contracts or Unexpired Leases pursuant to Article 7.4 of
the Plan.

              1.33 “Cure Objection Deadline” means the deadline for filing objections to a
Cure Notice or proposed Cure, which shall be on or before fourteen (14) days after the applicable
counterparty was served with a Cure Notice.

               1.34   “D&O Insurance” means [TO COME].

               1.35   “Debtor Group” has the meaning ascribed to such term in Article 3.1.

               1.36   “Debtor Group B” means Trident Holding Company, LLC.

              1.37 “Debtor Group C” means, collectively, the following Debtors: American
Diagnostics Services, Inc.; Community Mobile Diagnostics, LLC; Community Mobile
Ultrasound, LLC; Diagnostic Labs Holdings, LLC; JLMD Manager, LLC; Kan-Di-Ki LLC;
Main Street Clinical Laboratory, Inc.; MDX-MDL Holdings, LLC; MetroStat Clinical
Laboratory – Austin, Inc.; MX Holdings, LLC; MX USA, LLC; New Trident Holdcorp, Inc.;
Rely Radiology Holdings, LLC; Schryver Medical Sales and Marketing, LLC; Symphony
Diagnostic Services No. 1, LLC; Trident Clinical Services Holdings, Inc.; Trident Clinical
Services Holdings, LLC; TridentUSA Foot Care Services LLC; TridentUSA Mobile Clinical
Services, LLC; TridentUSA Mobile Infusion Services, LLC; and U.S. Lab & Radiology, Inc.

               1.38 “Debtor Subsidiaries” means each Debtor that is a direct or indirect
subsidiary of Pioneer.

              1.39 “Debtors” means, collectively, Trident Holding Company, LLC;
American Diagnostics Services, Inc.; Community Mobile Diagnostics, LLC; Community Mobile
Ultrasound, LLC; Diagnostic Labs Holdings, LLC; FC Pioneer Holding Company, LLC; JLMD
Manager, LLC; Kan-Di-Ki LLC; Main Street Clinical Laboratory, Inc.; MDX-MDL Holdings,

                                               5
19-10384-shl    Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05           Main Document
                                          Pg 12 of 70


LLC; MetroStat Clinical Laboratory – Austin, Inc.; MX Holdings, LLC; MX USA, LLC; New
Trident Holdcorp, Inc.; Rely Radiology Holdings, LLC; Schryver Medical Sales and Marketing,
LLC; Symphony Diagnostic Services No. 1, LLC; Trident Clinical Services Holdings, Inc.;
Trident Clinical Services Holdings, LLC; TridentUSA Foot Care Services LLC; TridentUSA
Mobile Clinical Services, LLC; TridentUSA Mobile Infusion Services, LLC; and U.S. Lab &
Radiology, Inc.

               1.40 “DIP Agent” means Silver Point Finance, LLC, in its capacity as
administrative agent for the DIP Lenders pursuant to the DIP Credit Agreement.

               1.41 “DIP Credit Agreement” means that certain Senior Secured
Superpriority Debtor in Possession Credit Agreement, between New Trident Holdcorp, Inc.,
Trident Clinical Services Holdings, Inc., Schryver Medical Sales and Marketing, LLC, the DIP
Lenders, the DIP Agent and the other parties thereto, dated as of February 11, 2019, as has been
or may be amended, restated, supplemented or otherwise modified from time to time.

             1.42     “DIP Documents” means all “Loan Documents” (as defined in the DIP
Credit Agreement).

                1.43 “DIP Facility” means the debtor-in-possession senior secured financing
facility, consisting of a term loan facility, provided to the Debtors by the DIP Lenders pursuant
to the DIP Credit Agreement or the other DIP Documents (as defined in the DIP Facility Order)
as authorized by the Bankruptcy Court pursuant to the DIP Facility Order.

              1.44 “DIP Facility Claim” means any Claim arising under, derived from,
based upon, on account of or as a result of the DIP Facility.

               1.45 “DIP Facility Order” means, collectively, (a) the interim order that was
entered by the Bankruptcy Court on February 12, 2019 (Docket No. 41), and (b) the final order
that was entered by the Bankruptcy Court on March 8, 2019 (Docket No. 166), authorizing and
approving the DIP Facility and the agreements related thereto, in each case as amended or
modified in accordance with the terms thereof. The term “DIP Facility Order” includes any and
all annexes or exhibits attached thereto.

                1.46 “DIP Lenders” means the financial institutions or entities from time to
time party to the DIP Credit Agreement as lenders.

                1.47 “DIP Secured Parties” has the meaning ascribed to the term “Secured
Parties” in the DIP Credit Agreement.

               1.48 “Disallowed” means (a) a Claim, or any portion thereof, that has been
disallowed by a Final Order or a settlement, or as provided in this Plan, (b) a Claim or any
portion thereof that is Scheduled at zero or as contingent, disputed, or unliquidated and as to
which a proof of claim bar date has been established but no proof of claim has been timely filed
or deemed timely filed with the Bankruptcy Court pursuant to either the Bankruptcy Code or any
Final Order of the Bankruptcy Court or otherwise deemed timely filed under applicable law, or
(c) a Claim or any portion thereof that is not Scheduled and as to which a proof of claim bar date
has been established but no proof of claim has been timely filed or deemed timely filed with the

                                                6
19-10384-shl    Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05            Main Document
                                          Pg 13 of 70


Bankruptcy Court pursuant to either the Bankruptcy Code or any Final Order of the Bankruptcy
Court or otherwise deemed timely filed under applicable law.

              1.49 “Disclosure Statement” means the disclosure statement or any
supplements thereto that relates to this Plan, as such disclosure statement may be amended,
modified, or supplemented from time to time in accordance with the terms therein, all as
approved by an order of the Bankruptcy Court pursuant to sections 1125 and 1127 of the
Bankruptcy Code and Bankruptcy Rule 3017.

               1.50 “Disclosure Statement Order” means the order entered by the
Bankruptcy Court approving the Disclosure Statement as containing, among other things,
“adequate information” as required by section 1125 of the Bankruptcy Code and solicitation
procedures related thereto.

               1.51 “Disputed” means with respect to a Claim, (a) any Claim as to which any
Debtor or other parties-in-interest in accordance with applicable law have interposed an
objection or request for estimation in accordance with the Bankruptcy Code and the Bankruptcy
Rules, or any Claim otherwise disputed by any Debtor, or other parties-in-interest in accordance
with applicable law, which objection has not been withdrawn or determined by a Final Order, (b)
any Claim scheduled by the Debtors as contingent, unliquidated, or disputed, (c) any Claim
which amends a Claim scheduled by the Debtors as contingent, unliquidated, or disputed, or (d)
any Claim prior to it having become an Allowed Claim.

             1.52 “Distribution Agent” means any Entity selected by the Debtors or the
Reorganized Debtors, in their sole discretion, to make or facilitate distributions pursuant to this
Plan.

                1.53 “Distribution Date” means the date selected by the Reorganized Debtors,
in their sole discretion, upon which distributions to Holders of Allowed Claims entitled to
receive distributions under this Plan shall commence.

               1.54 “Distribution Record Date” means the date for determining which
Holders of Allowed Claims are eligible to receive distributions under the Plan, which shall be (a)
ten (10) Business Days after entry of the Confirmation Order or (b) such other date as designated
by an order of the Bankruptcy Court.

               1.55 “Effective Date” means the date on which this Plan shall take effect,
which date shall be a Business Day on or after the Confirmation Date on which: (a) no stay of
the Confirmation Order is in effect; and (b) all conditions precedent to the effectiveness of this
Plan specified in Article 11.2, have been satisfied, or, if capable of being waived in accordance
with the terms herein, waived, which date shall be specified in a notice filed by the Reorganized
Debtors with the Bankruptcy Court.

             1.56     “Entity” has the meaning ascribed to such term in section 101(15) of the
Bankruptcy Code.

               1.57   “EPL Policy” means [TO COME].


                                                7
19-10384-shl    Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05           Main Document
                                          Pg 14 of 70


               1.58 “Equity Security” has the meaning ascribed to such term in section
101(16) of the Bankruptcy Code.

               1.59 “Estates” means the bankruptcy estates of the Debtors created pursuant to
section 541 of the Bankruptcy Code.

                 1.60 “Executory Contract” means any contract to which any Debtor is a party
that is subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.

             1.61 “Exhibit” means an exhibit annexed either to this Plan, contained in the
Plan Supplement, or annexed as an appendix to the Disclosure Statement.

                1.62 “Exit Liquidity Facility” means a senior secured asset-based lending,
receivables, or similar facility with revolving commitments in an aggregate amount not to exceed
the difference between $10 million and the greater of (a) the Debtors’ projected available cash
and Cash Equivalents (as defined in the DIP Credit Agreement) on the Effective Date, or (b) the
Debtors’ projected available cash and Cash Equivalents 60 days following the Effective Date, on
terms and conditions reasonably acceptable to the Priority First Lien Administrative Agent,
which shall be senior in lien priority to the Exit Term Loan Facility and New First Lien Facility
with respect to the Debtors’ and Reorganized Debtors’ accounts receivable and inventory assets.

               1.63 “Exit Term Loan Facility” means an exit term loan credit facility in an
aggregate principal amount of $50 million to be provided to the Reorganized Debtors by the Exit
Term Loan Facility Lenders on the Effective Date pursuant to the Exit Term Loan Facility
Documents, which shall be senior in lien priority to the New First Lien Facility.

              1.64 “Exit Term Loan Facility Agent” means the administrative agent under
the Exit Term Loan Facility Documents, and its successors and assigns in such capacity, or any
replacement agent appointed pursuant to the terms of the Exit Term Loan Facility Documents.

                1.65 “Exit Term Loan Facility Credit Agreement” means that certain term
loan credit agreement, annexed hereto as Exhibit 6.6, which shall be effective on the Effective
Date, by and among certain of the Reorganized Debtors, the Exit Term Loan Facility Agent, and
the Exit Term Loan Facility Lenders, as it may be amended, supplemented, amended and
restated, or otherwise modified from time to time, which shall have lien priority over all other
indebtedness of the Reorganized Debtors (other than, if applicable, the Exit Liquidity Facility)
and shall bear interest at a rate of LIBOR plus 7% per annum payable in Cash.

               1.66 “Exit Term Loan Facility Lenders” means the lenders under the Exit
Term Loan Facility Credit Agreement and each other party that becomes a lender thereunder
from time to time in accordance with the terms of the Exit Term Loan Facility Credit Agreement.

               1.67    “Exit Term Loan Facility Documents” means, collectively, the Exit
Term Loan Facility Credit Agreement and all other “Loan Documents” as defined therein,
including all other agreements, documents, and instruments delivered or entered into pursuant
thereto or in connection therewith (including any guarantee agreements and collateral
documents) (in each case, as amended, restated, modified, or supplemented from time to time),
each of which shall be, to the extent applicable.

                                               8
19-10384-shl    Doc 252      Filed 03/25/19 Entered 03/25/19 20:01:05            Main Document
                                           Pg 15 of 70


               1.68 “Face Amount” means, (a) when used in reference to a Disputed Claim or
Disallowed Claim, the full stated liquidated amount claimed by the Holder of a Claim in any
proof of Claim, or amendment thereof in accordance with applicable law, timely filed with the
Bankruptcy Court or otherwise deemed timely filed by any Final Order of the Bankruptcy Court
or other applicable bankruptcy law, or the amount estimated for such Claim in an order of the
Bankruptcy Court, and (b) when used in reference to an Allowed Claim or Allowed Interest, the
allowed amount of such Claim or Interest. If none of the foregoing applies, the Face Amount of
the Claim shall be zero ($0) dollars.

               1.69    “Final Decree” means the decree contemplated under Bankruptcy Rule
3022.

               1.70 “Final Order” means an order or judgment, the operation or effect of
which has not been reversed, stayed, modified, or amended, is in full force and effect, and as to
which order or judgment (or any reversal, stay, modification, or amendment thereof) (a) the time
to appeal, seek certiorari, or request reargument or further review or rehearing has expired and
no appeal, petition for certiorari, or request for reargument or further review or rehearing has
been timely filed, or (b) any appeal that has been or may be taken or any petition for certiorari or
request for reargument or further review or rehearing that has been or may be filed has been
resolved by the highest court to which the order or judgment was appealed, from which certiorari
was sought, or to which the request was made, and no further appeal or petition for certiorari or
request for reargument or further review or rehearing has been or can be taken or granted;
provided, however, that the possibility that a motion under Rule 60 of the Federal Rules of Civil
Procedure, or any analogous rule under the Bankruptcy Rules, may be filed relating to such order
shall not prevent such order from being a Final Order; provided, further, that the Debtors or
Reorganized Debtors, as applicable, reserve the right to waive any appeal period for an order or
judgment to become a Final Order.

              1.71 “First Lien Administrative Agent” means Cortland Capital Market
Services LLC, and its predecessors, successors and assigns, solely in its capacity as
“Administrative Agent” pursuant to the First Lien Credit Agreement.

               1.72 “First Lien Claims” means any and all Claims held by the First Lien
Lenders against the Debtors arising under, relating to, or in connection with the First Lien Credit
Agreement, whether such Claims are Secured Claims or unsecured deficiency claims pursuant to
section 506(a) of the Bankruptcy Code, and which Claims shall be Allowed for all purposes
under this Plan in an aggregate amount of $[219,815,899.97].

               1.73 “First Lien Credit Agreement” means that certain First Lien Credit
Agreement, dated as of July 31, 2013, by and among New Trident Holdcorp, Inc., Trident
Clinical Services Holdings, Inc., Schryver Medical Sales and Marketing, LLC, as borrowers, the
holding companies party thereto, the subsidiary guarantors party thereto, the First Lien
Administrative Agent, and the various lenders party thereto from time to time, as has been or it
may be amended, supplemented, amended and restated, or otherwise modified from time to time.

               1.74 “First Lien Credit Documents” means the First Lien Credit Agreement,
together with all other “Loan Documents” (as defined in the First Lien Credit Agreement).

                                                 9
19-10384-shl    Doc 252    Filed 03/25/19 Entered 03/25/19 20:01:05           Main Document
                                         Pg 16 of 70


             1.75     “First Lien Lenders” means the “Lenders” as defined in the First Lien
Credit Agreement.

                1.76 “First Lien Secured Parties” means the “Secured Parties” as defined in
the First Lien Credit Agreement.

               1.77   “General Unsecured Claims Cash Pool” means $100,000 of Cash.

               1.78 “General Unsecured Claims Cash Pool Account” means a segregated
account to be funded on or prior to the Effective Date in accordance with Article 6.9.

              1.79 “General Unsecured Claim” means any Claim that is not an
Administrative Claim, DIP Facility Claim, Priority Tax Claim, Priority First Lien Claim, First
Lien Claim, Second Lien Claim, PIK Notes Claim, Other Secured Claim, Other Priority Claim,
Intercompany Claim, or Other Subordinated Claim. Without limiting the foregoing, General
Unsecured Claims include all Rejection Damages Claims that are not Allowed Section 503(b)(9)
Claims.

               1.80 “Governmental Unit” has the meaning ascribed to such term in section
101(27) of the Bankruptcy Code.

              1.81 [“GUC Administrator” means the person appointed by the Creditors’
Committee in accordance with Article 8.2 of the Plan.]

              1.82 [“GUC Administrator Costs” means the reasonable costs and expenses
of the GUC Administrator, including reasonable professionals’ fees and expenses, which, for the
avoidance of doubt, shall solely be paid from the General Unsecured Claims Cash Pool.]

                1.83 “Holdback Escrow Account” means the interest-bearing escrow account
into which Cash equal to the Holdback Escrow Amount shall be deposited on the Effective Date
for the payment of Allowed Professional Claims (as Allowed pursuant to the terms of this Plan)
to the extent not previously paid or disallowed.

               1.84 “Holdback Escrow Amount” means the sum of (a) the aggregate
amounts withheld by the Debtors as of the Confirmation Date as a holdback on payment of
Professional Claims pursuant to the Professional Fee Order, and (b) twenty (20) percent of that
portion of the unbilled fees of Professionals estimated pursuant to Article 2.3(c) of the Plan
attributable to fees incurred as of the Confirmation Date; provided, however, that if a
Professional does not provide an estimate pursuant to Article 2.3(c), the Debtors may estimate
the unbilled fees of such Professional incurred as of the Confirmation Date, and the sum of
provision (a) above and the total amount so estimated shall comprise the Holdback Escrow
Amount.

               1.85   “Holder” means a holder of a Claim against or Interest in the Debtors.

             1.86     “Impaired” means impaired within the meaning of section 1124 of the
Bankruptcy Code.


                                              10
19-10384-shl    Doc 252      Filed 03/25/19 Entered 03/25/19 20:01:05            Main Document
                                           Pg 17 of 70


               1.87    “Insurance Contract” has the meaning ascribed to it in Article 7.3 of this
Plan.

               1.88    “Insured Claims” has the meaning ascribed to it in Article 7.3 of this
Plan.

               1.89 “Intercompany Claim” means a Claim or a Cause of Action by a Debtor
against another Debtor.

                1.90 “Interest” means any Equity Security, common stock, equity, ownership,
profit interest, unit, or share in a Debtor (including all options, warrants, rights, or other
securities or agreements to obtain such an interest or share in a Debtor), whether or not arising
under or in connection with any employment agreement and whether or not certificated, vested,
transferrable, preferred, common, voting, or denominated “stock” or a similar security, existing
immediately prior to the Effective Date.

              1.91 “Investor Representatives” means, collectively, the Original PIK Notes
Investor Representative and the Tranched PIK Notes Investor Representative.

              1.92 “Law” means any law (statutory or common), statute, regulation, rule,
code or ordinance enacted, adopted, issued, or promulgated by any Governmental Unit.

               1.93 “Legal Proceeding” means legal, governmental, administrative, judicial,
or regulatory investigations, audits, actions, suits, claims, arbitrations, demands, demand letters,
notices of noncompliance or violation, or proceedings.

             1.94      “Lien” has the meaning ascribed to such term in section 101(37) of the
Bankruptcy Code.

                1.95 “Management Incentive Plan” means the post-Effective Date
management equity incentive plan, which shall provide for, among other things, not to exceed
10% of the equity, options, restricted stock units, or other equity instruments in Reorganized
Pioneer, issued at plan value, to be reserved for current and future officers and employees of the
Reorganized Debtors (excluding any such equity, options, restricted stock units, or other equity
instruments granted to the non-executive members of the New Pioneer Board), with awards and
terms and conditions thereunder determined by the New Pioneer Board, except as otherwise set
forth in the Plan Supplement. For the avoidance of doubt, the Reorganized Debtors shall have the
right to set additional equity awards for the benefit of members of the New Boards following the
Effective Date.

              1.96 “Minimum Liquidity Condition Precedent” has the meaning ascribed to
such term in Article 11.2.

               1.97 “New Boards” means the initial boards of directors of the Reorganized
Debtors, which shall as of the Effective Date consist of members selected by the Priority First
Lien Administrative Agent and shall be as set forth in the Plan Supplement or as announced on
the record during the Confirmation Hearing.


                                                11
19-10384-shl    Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05           Main Document
                                          Pg 18 of 70


              1.98 “New First Lien Facility” means a new first lien term loan facility in an
aggregate principal amount of $[105] million to be provided to the Reorganized Debtors by the
New First Lien Facility Lenders on the Effective Date pursuant to the New First Lien Credit
Agreement, which shall be junior in lien priority to the Exit Term Loan Facility.

              1.99 “New First Lien Facility Agent” means the administrative agent under
the New First Lien Facility Documents, and its successors and assigns in such capacity, or any
replacement agent appointed pursuant to the terms of the New First Lien Facility Documents.

                1.100 “New First Lien Credit Agreement” means that certain term loan credit
agreement, which shall be effective on the Effective Date, by and among certain of the
Reorganized Debtors, the New First Lien Facility Agent, and the New First Lien Facility
Lenders, as it may be amended, supplemented, amended and restated, or otherwise modified
from time to time, the material terms of which shall be substantially identical to those in the
Priority First Lien Credit Agreement, except that term loans under the New First Lien Facility
shall bear interest at a rate of LIBOR plus 4% per annum payable in cash plus 3.5% per annum
payable-in-kind; provided that the Reorganized Debtors shall have the ability at any time to elect
to pay interest at a rate of LIBOR plus 7% per annum payable in cash for any period.

               1.101 “New First Lien Facility Documents” means, collectively, the New First
Lien Facility Credit Agreement and all other “Loan Documents” as defined therein, including all
other agreements, documents, and instruments delivered or entered into pursuant thereto or in
connection therewith (including any guarantee agreements and collateral documents) (in each
case, as amended, restated, modified, or supplemented from time to time).

               1.102 “New First Lien Facility Lenders” means the lenders under the New
First Lien Credit Agreement and each other party that becomes a lender thereunder from time to
time in accordance with the terms of the New First Lien Credit Agreement.

                1.103 “New Pioneer Board” means the initial board of managers of
Reorganized Pioneer, which shall as of the Effective Date consist of members selected by the
Priority First Lien Administrative Agent and shall be as set forth in the Plan Supplement or as
announced on the record during the Confirmation Hearing.

              1.104 “New Pioneer Units” means the Class A limited liability company units
of Reorganized Pioneer as provided under the Pioneer LLC Agreement.

               1.105 “Old Pioneer Units” means limited liability company interests
represented by units of FC Pioneer Holding Company, LLC of any other such interests that are
authorized, issued, and outstanding prior to the Effective Date.

               1.106 “Old Securities” means, collectively, the Original PIK Notes, the
Tranched PIK Notes, and Old Pioneer Units, and all options, warrants, rights, and other
instruments evidencing an ownership interest in Pioneer (whether fixed or contingent, matured or
unmatured, disputed or undisputed), contractual, legal, equitable, or otherwise to acquire any of
the foregoing.



                                               12
19-10384-shl    Doc 252      Filed 03/25/19 Entered 03/25/19 20:01:05            Main Document
                                           Pg 19 of 70


              1.107 “Ordinary Course Professionals Order” means the Bankruptcy Court’s
Order Authorizing Debtors To Employ And Pay Professionals Utilized In The Ordinary Course
Of Business (Docket No. 180).

               1.108 “Original PIK Noteholder” means the Holder of an Original PIK Note.

               1.109 “Original PIK Notes” means those certain promissory notes issued
pursuant to the Original PIK Notes Investment Agreement.

              1.110 “Original PIK Notes Investment Agreement” means the Investment
Agreement, dated as of December 9, 2016, by and among Pioneer, as borrower, the Original PIK
Notes Investor Representative, and the other noteholders party thereto, as amended, restated,
amended and restated, supplemented or otherwise modified from time to time.

             1.111 “Original PIK Notes Investor Representative” means GCM Saint Paul
SPV, LLC, in its capacity as investor representative under the Original PIK Notes Investment
Agreement.

              1.112 “Other Priority Claim” means any Claim, other than an Administrative
Claim or Priority Tax Claim, entitled to priority payment as specified in section 507(a) of the
Bankruptcy Code.

               1.113 “Other Secured Claim” means any Secured Claim other than the
following: (a) a DIP Facility Claim; (b) a Priority First Lien Claim; (c) a First Lien Claim; or (d)
a Second Lien Claim.

                1.114 “Other Subordinated Claim” means any Claim against the Debtors that
is subject to subordination under section 510(b) or (c) of the Bankruptcy Code, whether arising
from rescission of a purchase or sale of a security of the Debtors or an Affiliate of the Debtors,
for damages arising from the purchase or sale of such a security, or for reimbursement or
contribution allowed under section 502 of the Bankruptcy Code on account of such Claim, or
otherwise, which Claim shall be subordinated to all Claims or Interests that are senior to or equal
to the Claim or Interest represented by such security.

                1.115 “Periodic Distribution Date” means, as applicable, (a) the Distribution
Date, as to the first distribution made by the Distribution Agent, and (b) thereafter, such Business
Days selected by the Reorganized Debtors in their reasonable discretion, which shall be no less
frequent than once every three (3) months unless otherwise determined by the New Board.

             1.116 “Person” has the meaning ascribed to such term in section 101(41) of the
Bankruptcy Code.

               1.117 “Petition Date” means February 10, 2019.

             1.118 “PIK Notes” means, collectively, the Original PIK Notes and the
Tranched PIK Notes.



                                                13
19-10384-shl    Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05           Main Document
                                          Pg 20 of 70


               1.119 “PIK Notes Claim” means any Claim arising from, or related to, the PIK
Notes.

               1.120 “Pioneer” means FC Pioneer Holding Company, LLC.

               1.121 “Pioneer LLC Agreement” means the amended and restated limited
liability company agreement of Pioneer to be effective as of the Effective Date, the form and
substance of which shall be included in the Plan Supplement.

              1.122 “Plan” means this joint plan of reorganization for the resolution of
outstanding Claims and Interests in the Chapter 11 Cases, as may be modified in accordance with
the Bankruptcy Code, the Bankruptcy Rules, and the terms herein, including the Plan
Supplement and all Exhibits, supplements, appendices, and schedules.

               1.123 “Plan Supplement” means the supplement or supplements to the Plan
containing certain Exhibits and documents relevant to the implementation of the Plan, to be filed
with the Bankruptcy Court in accordance with the terms herein.

               1.124 “Plan Supplement Filing Date” means the date on which the Plan
Supplement shall be filed with the Bankruptcy Court, which date shall be at least seven days
prior to the Voting Deadline or such later date as may be approved by the Bankruptcy Court
without further notice, so long as such date is prior to the Voting Deadline.

               1.125 “Plan Transaction Documents” means all definitive documents and
agreements to which the Debtors will be a party as contemplated by the Plan including, without
limitation, (a) the Plan and any documentation or agreements related thereto, (b) the
Confirmation Order and pleadings (but not declarations) in support of entry thereof, (c) the
solicitation materials in respect of the Plan, the motion to approve the Disclosure Statement, and
the Disclosure Statement Order, and (d) all documents that will comprise the Plan Supplements.

             1.126 “Priority First Lien Administrative Agent” means Silver Point Finance,
LLC, and its predecessors, successors and assigns, solely in its capacity as “Administrative
Agent” pursuant to the Priority First Lien Credit Agreement.

                1.127 “Priority First Lien Claims” means any and all Claims held by the
Priority First Lien Lenders against the Debtors arising under, relating to, or in connection with
the Priority First Lien Credit Agreement, whether such Claims are Secured Claims or unsecured
deficiency claims pursuant to section 506(a) of the Bankruptcy Code, and which Claims shall be
Allowed for all purposes under this Plan in the aggregate amount of $[259,387,485.15].

              1.128 “Priority First Lien Credit Agreement” means that certain Priority First
Lien Credit Agreement, dated as of April 30, 2018, by and among New Trident Holdcorp, Inc.,
Trident Clinical Services Holdings, Inc., Schryver Medical Sales and Marketing, LLC, as
borrowers, Trident Holding Company, LLC, the Priority First Lien Administrative Agent, and
the various lenders party thereto from time to time, as it may be amended, supplemented,
amended and restated, or otherwise modified from time to time.



                                               14
19-10384-shl    Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05           Main Document
                                          Pg 21 of 70


              1.129 “Priority First Lien Credit Documents” means the Priority First Lien
Credit Agreement, together with all other “Loan Documents” (as defined in the Priority First
Lien Credit Agreement).

              1.130 “Priority Intercreditor Agreement” means the Priority/First
Lien/Second Lien Intercreditor Agreement, dated as of April 30, 2018, by and among New
Trident Holdcorp, Inc., Trident Clinical Services Holdings, Inc., Schryver Medical Sales and
Marketing, LLC, Trident Holding Company, LLC, the other grantors party thereto, the Priority
First Lien Administrative Agent, the First Lien Administrative Agent, and the Second Lien
Administrative Agent.

                1.131 “Priority First Lien Lenders” means the “Lenders” as defined in the
Priority First Lien Credit Agreement.

               1.132 “Priority First Lien Secured Parties” means the “Secured Parties” as
defined in the Priority First Lien Credit Agreement.

               1.133 “Priority Tax Claim” means a Claim of a Governmental Unit entitled to
priority pursuant to section 507(a)(8) of the Bankruptcy Code.

               1.134 “Pro Rata” means, with respect to Claims, at any time, the proportion that
the Face Amount of a Claim in a particular Class or Classes bears to the aggregate Face Amount
of all Claims (including Disputed Claims, but excluding Disallowed Claims) in such Class or
Classes at issue; provided, however, that for purposes of distributions to Holders of Allowed
General Unsecured Claims, Pro Rata shall apply on a consolidated basis.

               1.135 “Professional” means any Entity (a) retained in the Chapter 11 Cases by
separate Final Order pursuant to sections 327, 363, and 1103 of the Bankruptcy Code or
otherwise; or (b) awarded compensation and reimbursement by the Bankruptcy Court pursuant to
section 503(b)(4) of the Bankruptcy Code; provided, however, that Professional does not include
any Entity retained pursuant to the Ordinary Course Professionals Order.

               1.136 “Professional Claim” means an Administrative Claim of a Professional
for compensation for services rendered or reimbursement of costs, expenses, or other charges
and disbursements incurred relating to services rendered or expenses incurred after the Petition
Date and prior to and including the Confirmation Date.

             1.137 “Professional Fee Order” means the order entered by the Bankruptcy
Court on March 8, 2019, authorizing the interim payment of Professional Claims subject to the
Holdback Escrow Amount (Docket No. 172).

                1.138 “Reinstated” or “Reinstatement” means (a) leaving unaltered the legal,
equitable and contractual rights to which a Claim entitles the Claim Holder so as to leave such
Claim Unimpaired in accordance with section 1124 of the Bankruptcy Code, or (b)
notwithstanding any contractual provision or applicable law that entitles the Claim Holder to
demand or receive accelerated payment of such Claim after the occurrence of a default, (i) curing
any such default that occurred before or after the Petition Date, other than a default of a kind
specified in section 365(b)(2) of the Bankruptcy Code; (ii) reinstating the maturity of such Claim

                                               15
19-10384-shl    Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05            Main Document
                                          Pg 22 of 70


as such maturity existed before such default; (iii) compensating the Claim Holder for any
damages incurred as a result of any reasonable reliance by such Claim Holder on such
contractual provision or such applicable law; and (iv) not otherwise altering the legal, equitable
or contractual rights to which such Claim entitles the Claim Holder; provided, however, that any
contractual right that does not pertain to the payment when due of principal and interest on the
obligation on which such Claim is based, including, but not limited to, financial covenant ratios,
negative pledge covenants, covenants or restrictions on merger or consolidation, “going dark”
provisions, and affirmative covenants regarding corporate existence prohibiting certain
transactions or actions contemplated by this Plan, or conditioning such transactions or actions on
certain factors, shall not be required to be cured or reinstated in order to accomplish
Reinstatement.

                1.139 “Rejection Damages Claim” means any Claim on account of the
rejection of an Executory Contract or Unexpired Lease pursuant to section 365 of the Bankruptcy
Code or the repudiation of such contract.

                1.140 “Released Parties” means, collectively, each of the following in their
respective capacities as such: (a) the Debtors and all of the Debtors’ and Reorganized Debtors’
(1) current financial advisors, attorneys, accountants, investment bankers, representatives, and
other professionals (collectively, the “Debtor Professionals”); (2) current employees,
consultants, Affiliates, officers, managers and directors, including any such persons or entities
retained pursuant to section 363 of the Bankruptcy Code; (b) the Priority First Lien Lenders; (c)
the Priority First Lien Administrative Agent; (d) the Priority Lender Group (as defined in the
RSA) and each of its members; (e) the Consenting Priority Lenders (as defined in the RSA); (f)
the DIP Agent; (g) the DIP Lenders; (h) the administrative and collateral agents under the
Priority First Lien Credit Agreement; (i) with respect to each of the foregoing entities in clauses
(a) through (h), each of their current and former Affiliates; and (j) with respect to each of the
foregoing entities in clauses (a) through (i), such entities’ predecessors, successors and assigns,
subsidiaries, Affiliates, managed accounts or funds, and all of their respective current and former
officers, managers, directors, principals, direct and indirect shareholders, direct and indirect
members, direct and indirect partners, employees, agents, advisory board members, financial
advisors, attorneys, accountants, investment bankers, consultants, representatives, management
companies, fund advisors, agents and other professionals, and such persons’ respective heirs,
executors, estates, servants and nominees.

               1.141 “Releasing Parties” means, collectively, each of the following in their
respective capacities as such: (a) the Debtors and the Reorganized Debtors; (b) the Priority First
Lien Lenders; (c) the Priority First Lien Administrative Agent; (d) the Priority Lender Group (as
defined in the RSA) and each of its members; (e) the Consenting Priority Lenders (as defined in
the RSA); (f) the DIP Agent; (g) the DIP Lenders; (h) the administrative and collateral agents
under the Priority First Lien Credit Agreement; (i) with respect to each of the foregoing parties
under (a) through (h), each of their current and former affiliates; (j) with respect to each of the
foregoing entities in clauses (a) through (i), such entities’ predecessors, successors and assigns,
subsidiaries, Affiliates, managed accounts or funds, and all of their respective current and former
officers, managers, directors, principals, direct and indirect shareholders, direct and indirect
members, direct and indirect partners, employees, agents, advisory board members, financial
advisors, attorneys, accountants, investment bankers, consultants, representatives, management

                                                16
19-10384-shl     Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05             Main Document
                                           Pg 23 of 70


companies, fund advisors, agents and other professionals, and such persons’ respective heirs,
executors, estates, servants and nominees; and (k) without limiting the foregoing, each holder of
a Claim against or Interest in the Company that (1) voted to accept the Plan, (2) is deemed to
accept the Plan, (3) is deemed to reject the Plan and did not indicate that they opt to not grant the
releases provided in the Plan, (4) was solicited to vote to accept or reject the Plan but who does
not vote either to accept or to reject the Plan and, further, did not indicate that they opt to not
grant the releases provided in the Plan, or (5) voted to reject the Plan and did not indicate that
they opt to not grant the releases provided in the Plan. For the avoidance of doubt, the Releasing
Parties shall not include any holder of a Claim against or Interest in the Company that was
entitled to vote on the Plan, voted to reject the Plan, and elected to opt-out of the releases
provided for in the Plan.

              1.142 “Reorganized Debtors” means the Debtors or any successor thereto, by
merger, consolidation, or otherwise, from and after the Effective Date.

              1.143 “Reorganized Pioneer” means Pioneer or any successor thereto, by
merger, consolidation, or otherwise, from and after the Effective Date.

               1.144 “Restructuring Transactions” has the meaning set forth in Article 6.3.

               1.145 “RSA” means the Restructuring Support Agreement, dated as of February
10, 2019, by and between the Debtors, the Priority First Lien Lenders, and the Priority First Lien
Administrative Agent, including any exhibits and schedules thereto.

               1.146 “Scheduled” means, with respect to any Claim, the status, priority, and
amount, if any, of such Claim as set forth in the Schedules.

               1.147 “Schedules” means the schedules of assets and liabilities and the
statements of financial affairs filed in the Chapter 11 Cases by the Debtors pursuant to section
521 of the Bankruptcy Code, which incorporate by reference the global notes and statement of
limitations, methodology, and disclaimer regarding the Debtors’ schedules and statements, as
such schedules or statements have been or may be further modified, amended, or supplemented
from time to time in accordance with Bankruptcy Rule 1009 or Final Orders of the Bankruptcy
Court.

               1.148 “SEC” means the United States Securities and Exchange Commission.

               1.149 “Second Lien Administrative Agent” means Ares Capital Corporation,
and its predecessors, successors and assigns, solely in its capacity as “Administrative Agent”
pursuant to the Second Lien Credit Agreement.

               1.150 “Second Lien Claims” means any and all Claims held by the Second Lien
Lenders against the Debtors arising under, relating to, or in connection with the Second Lien
Credit Agreement, whether such Claims are Secured Claims or unsecured deficiency claims
pursuant to section 506(a) of the Bankruptcy Code, and which Claims shall be Allowed for all
purposes under this Plan in an aggregate amount of $[175,567,909.46].



                                                 17
19-10384-shl       Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05         Main Document
                                             Pg 24 of 70


               1.151 “Second Lien Credit Agreement” means that certain Second Lien Credit
Agreement, dated as of July 31, 2013, by and among New Trident Holdcorp, Inc., Trident
Clinical Services Holdings, Inc., Schryver Medical Sales and Marketing, LLC, as borrowers, the
holding companies party thereto, the subsidiary guarantors party thereto, the Second Lien
Administrative Agent, and the various lenders party thereto from time to time, as has been or
may be amended, supplemented, amended and restated, or otherwise modified from time to time.

             1.152 “Second Lien Credit Documents” means the Second Lien Credit
Agreement, together with all other “Loan Documents” (as defined in the Second Lien Credit
Agreement).

              1.153 “Second Lien Lenders” means the “Lenders” as defined in the Second
Lien Credit Agreement.

               1.154 “Second Lien Secured Parties” means the “Secured Parties” as defined
in the Second Lien Credit Agreement.

               1.155 “Section 503(b)(9) Claim” means any Claim asserted under section
503(b)(9) of the Bankruptcy Code equal to the value of any goods received by the Debtors within
20 days before the Petition Date during which the goods have been sold to the Debtors in the
Debtors’ ordinary course of business.

               1.156 “Secured Claim” means a Claim (a) secured by a Lien on collateral to the
extent of the value of such collateral, as determined in accordance with section 506(a) of the
Bankruptcy Code or (b) subject to a valid right of setoff pursuant to section 553 of the
Bankruptcy Code.

              1.157 “Securities Act” means the Securities Act of 1933, as now in effect or
hereafter amended, and the rules and regulations of the SEC promulgated thereunder.

                  1.158 “Security” has the meaning ascribed to such term in section 2(a)(1) of the
Securities Act.

              1.159 “Specified Executives” means executives holding the positions of Chief
Executive Officer, Chief Financial Officer, and Chief Operating Officer.

                  1.160 “Tranched PIK Noteholder” means a Holder of a Tranched PIK Note.

               1.161 “Tranched PIK Notes” means those certain promissory notes issued
pursuant to the Tranched PIK Notes Investment Agreement.

              1.162 “Tranched PIK Notes Investment Agreement” means the Investment
Agreement, dated as of November 29, 2017, by and among Pioneer and Trident Holding
Company, LLC, each as borrower, the Tranched PIK Notes Investor Representative, and the
other noteholders party thereto, as amended, restated, amended and restated, supplemented or
otherwise modified from time to time.



                                                 18
19-10384-shl     Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05             Main Document
                                           Pg 25 of 70


               1.163 “Tranched PIK Notes Investor Representative” means Revelstoke
Capital Partners Fund I, L.P., in its capacity as investor representative under the Tranched PIK
Notes Investment Agreement.

               1.164 “Unclaimed Distribution” means any distribution under the Plan on
account of an Allowed Claim to a Holder that has not: (a) accepted a particular distribution or, in
the case of distributions made by check, negotiated such check; (b) given notice to the
Reorganized Debtors of an intent to accept a particular distribution; (c) responded to the Debtors’
or Reorganized Debtors’ request for information necessary to facilitate a particular distribution;
or (d) taken any other action necessary to facilitate such distribution.

             1.165 “Unexpired Lease” means a lease of nonresidential real property to which
any Debtor is a party that is subject to assumption or rejection under section 365 of the
Bankruptcy Code.

               1.166 “Unimpaired” means, with respect to a Class of Claims, a Class of
Claims that is not Impaired.

               1.167   “Voting Deadline” means [ ], 2019 at 4:00 p.m. prevailing Eastern time.

                1.168 “Warrants” means, on terms and conditions set forth in the Pioneer LLC
Agreement and acceptable to the Priority First Lien Lenders, Class W units of Reorganized
Pioneer exercisable for up to 5% of the New Pioneer Units, subject to dilution by the
Management Incentive Plan, with an expiration date of eighteen (18) months after the Effective
Date at a strike price equal to the price per share that would result in a full return on invested
capital to the Priority First Lien Lenders (inclusive of the full amount of the Priority First Lien
Claims) calculated as of the Effective Date, with such strike price continuing to accrue at a rate
of LIBOR plus 9.5% compounding quarterly.

C.     Rules of Interpretation

                For purposes of this Plan, unless otherwise provided herein, (a) whenever from
the context it is appropriate, each term, whether stated in the singular or the plural, shall include
both the singular and the plural; (b) each pronoun stated in the masculine, feminine, or neuter
includes the masculine, feminine, and neuter; (c) any reference in the Plan to an existing
document or schedule filed or to be filed means such document or schedule, as it may have been
or may be amended, modified, or supplemented; (d) any reference to an entity as a Holder of a
Claim or Interest includes that entity’s successors and assigns; (e) all references in this Plan to
Sections, Articles, and Exhibits are references to Sections, Articles, and Exhibits of or to this
Plan; (f) the words “herein,” “hereunder,” and “hereto” refer to this Plan in its entirety rather
than to a particular portion of this Plan; (g) captions and headings to Articles and Sections are
inserted for convenience of reference only and are not intended to be a part of or to affect the
interpretation of this Plan; (h) the rules of construction set forth in section 102 of the Bankruptcy
Code shall apply; (i) to the extent the Disclosure Statement is inconsistent with the terms of this
Plan, this Plan shall control; (j) to the extent this Plan is inconsistent with the Confirmation
Order, the Confirmation Order shall control; (k) any immaterial effectuating provision may be
interpreted by the Reorganized Debtors in a manner that is consistent with the overall purpose

                                                 19
19-10384-shl      Doc 252    Filed 03/25/19 Entered 03/25/19 20:01:05              Main Document
                                           Pg 26 of 70


and intent of the Plan without further Final Order of the Bankruptcy Court; (l) to the extent that
any right of any Entity (other than the Debtors or Reorganized Debtors) to consent to a matter,
action or otherwise is unqualified, it shall be implied that such consent right may not be
unreasonably withheld, conditioned, or delayed; and (m) references to “shares,” “shareholders,”
“directors,” shall also include “membership units,” “members,” “managers,” and/or “officers” or
other functional equivalents, as applicable, as such terms are defined under the applicable state
corporations or comparable laws, as applicable.

D.     Computation Of Time

              In computing any period of time prescribed or allowed by this Plan, unless
otherwise expressly provided, the provisions of Bankruptcy Rule 9006(a) shall apply.

E.     References to Monetary Figures

               All references in this Plan to monetary figures shall refer to currency of the
United States of America, unless otherwise expressly provided.

F.     Certain Consent Rights

                 Notwithstanding anything in the Plan to the contrary, any and all consent rights as
set forth in the RSA with respect to the form and substance of the Plan, the Plan Supplement, and
any Plan Transaction Documents shall be incorporated herein by this reference and fully
enforceable as stated herein until such time as the RSA is terminated in accordance with its
terms.

G.     Exhibits

                All Exhibits are incorporated into and are a part of this Plan as if set forth in full
herein and, to the extent not annexed hereto, such Exhibits shall be filed with the Bankruptcy
Court on or before the Plan Supplement Filing Date. After the Plan Supplement Filing Date,
copies of Exhibits may be obtained upon written request to Skadden, Arps, Slate, Meagher &
Flom LLP, Four Times Square, New York, New York 10036 (Attn: Paul Leake and Jason
Kestecher), or Skadden, Arps, Slate, Meagher & Flom LLP, 155 North Wacker Drive, Suite
2700, Chicago, Illinois 60606 (Attn: James J. Mazza, Jr. and Justin M. Winerman), counsel to
the Debtors, or by downloading such exhibits from the Debtors’ informational website at
https://dm.epiq11.com/trident. To the extent any Exhibit is inconsistent with the terms of this
Plan and unless otherwise provided for in the Confirmation Order, the terms of the Exhibit shall
control as to the transactions contemplated thereby and the terms of this Plan shall control as to
any Plan provision that may be required under the Exhibit.

                                           ARTICLE II

                ADMINISTRATIVE EXPENSES AND PRIORITY CLAIMS

               2.1    Administrative Claims. Except to the extent that the Debtors (or the
Reorganized Debtors) and a Holder of an Allowed Administrative Claim agree to less favorable
treatment, a Holder of an Allowed Administrative Claim (other than a DIP Facility Claim, which

                                                 20
19-10384-shl    Doc 252      Filed 03/25/19 Entered 03/25/19 20:01:05            Main Document
                                           Pg 27 of 70


shall be subject to Article 2.2 of the Plan, or a Professional Claim, which shall be subject to
Article 2.3 of the Plan) shall receive, in full satisfaction, settlement, release, and discharge of,
and in exchange for, such Administrative Claim, Cash equal to the unpaid portion of such
Allowed Administrative Claim either (a) on the Effective Date, (b) if the Allowed Administrative
Claim is based on liabilities incurred by the Debtors in the ordinary course of their business after
the Petition Date, in the ordinary course of business in accordance with the terms and conditions
of the particular transaction giving rise to such Allowed Administrative Claims, without any
further action by the Holders of such Allowed Administrative Claims, or (c) on such other date
as agreed between the Debtors (or the Reorganized Debtors) and such Holder of an Allowed
Administrative Claim; provided, however, that other than Holders of (i) DIP Facility Claims,
(ii) Professional Claims, (iii) Administrative Claims Allowed by an order of the Bankruptcy
Court on or before the Effective Date, or (iv) Administrative Claims that are not Disputed and
arose in the ordinary course of business and were paid or are to be paid in accordance with the
terms and conditions of the particular transaction giving rise to such Administrative Claim, the
Holder of any Administrative Claim shall have filed a proof of Claim form no later than the
Administrative Claims Bar Date and such Claim shall have become an Allowed Claim. Except as
otherwise provided herein and as set forth in Articles 2.2 or 2.3 of this Plan, all requests for
payment of an Administrative Claim must be filed, in substantially the form of the
Administrative Claim Request Form contained in Exhibit 2.1, with the Claims and Solicitation
Agent and served on counsel for the Debtors or the Reorganized Debtors by no later than the
Administrative Claims Bar Date. After the Effective Date, the Reorganized Debtors may settle
an Administrative Claim without further Bankruptcy Court approval. In the event that the
Reorganized Debtors object to an Administrative Claim and there is no settlement, the
Bankruptcy Court shall determine the Allowed amount of such Administrative Claim

                2.2     DIP Facility Claims. On the Effective Date, the DIP Facility Claims
shall be Allowed in full, in the amount of $50 million (less any amounts paid prior to the
Effective Date) plus all accrued and unpaid postpetition interest under the DIP Credit Agreement
(and any unpaid fees, costs, and expenses). With the consent of the DIP Lenders as provided in
the RSA, in full and final satisfaction, settlement, release, and discharge of, and in exchange for,
such Allowed DIP Facility Claims, all outstanding DIP Facility Claims shall be automatically
converted to and deemed to be obligations under the Exit Term Loan Facility Credit Agreement,
and all Collateral (as such term is defined in the DIP Credit Agreement) that secures the
obligations under the DIP Documents shall be reaffirmed, ratified, and shall automatically secure
all obligations of the Reorganized Debtors under the Exit Term Loan Facility Credit Agreement.

               2.3     Professional Claims.

                       (a)     Final Fee Applications. All final requests for payment of
Professional Claims and requests for reimbursement of expenses of members of the Creditors’
Committee must be filed no later than sixty (60) days after the Effective Date. After notice and a
hearing in accordance with the procedures established by the Bankruptcy Code, the Bankruptcy
Rules, and prior orders of the Bankruptcy Court, the Allowed amounts of all Professional Claims
and expenses shall be determined by the Bankruptcy Court.

                    (b)    Payment of Interim Amounts. Subject to the Holdback Escrow
Amount, on the Effective Date, the Debtors or the Reorganized Debtors shall pay all amounts

                                                21
19-10384-shl    Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05            Main Document
                                          Pg 28 of 70


owing to Professionals for all outstanding amounts billed relating to prior periods through the
Effective Date as to which no objection has been filed (and as to which there is no then-existing
Court-mandated or Court-ordered prohibition on making payment). To receive payment on the
Effective Date for such unbilled fees and expenses incurred through the Effective Date that have
not yet been billed pursuant to the Professional Fee Order, no later than two (2) days prior to the
Effective Date, the Professionals (who, in the case of the Creditors’ Committee, shall only be
permitted to take the actions set forth in Article 13.6 after the Confirmation Date) shall estimate
fees and expenses due for periods that have not been billed as of the Effective Date and shall
deliver such estimate to counsel for the Debtors. Within fifteen (15) days after the Effective
Date, a Professional receiving payment for the estimated period shall submit a detailed invoice
covering such period, subject to any parties’ right to object as set forth in the Professional Fee
Order.

                      (c)    Holdback Escrow Account. On the Effective Date, the Debtors
or the Reorganized Debtors shall fund the Holdback Escrow Account with Cash equal to the
aggregate Holdback Escrow Amount for all Professionals. The Distribution Agent shall
maintain the Holdback Escrow Account in trust for the Professionals with respect to whom fees
have been held back pursuant to the Professional Fee Order. Such funds shall not be considered
property of the Debtors, the Reorganized Debtors, or the Estates. The remaining amount of
Professional Claims owing to the Professionals shall be paid to such Professionals by the
Distribution Agent from the Holdback Escrow Account when such claims are finally Allowed by
the Bankruptcy Court. When all Professional Claims have been paid in full, amounts remaining
in the Holdback Escrow Account, if any, shall be paid to the Reorganized Debtors to be used by
the Reorganized Debtors in accordance with the Plan.

                      (d)    Post-Confirmation Date Retention. Upon the Confirmation
Date, any requirement that Professionals comply with sections 327 through 331 of the
Bankruptcy Code in seeking retention or compensation for services rendered after such date shall
terminate, and the Reorganized Debtors shall employ and pay Professionals in the ordinary
course of business (including the reasonable fees and expenses incurred by Professionals in
preparing, reviewing and prosecuting or addressing any issues with respect to final fee
applications). The Creditors’ Committee’s Professionals may not be paid for services rendered
after the Confirmation Date.

               2.4     Priority Tax Claims. On the Effective Date, except to the extent that the
Debtors (or Reorganized Debtors) and a Holder of an Allowed Priority Tax Claim agree to a less
favorable treatment, each Holder of an Allowed Priority Tax Claim due and payable on or before
the Effective Date shall receive one of the following treatments on account of such Claim:
(a) Cash in an amount equal to the amount of such Allowed Priority Tax Claim, (b) Cash in an
amount agreed to by the Debtors (or the Reorganized Debtors) and such Holder, provided,
however, that such parties may further agree for the payment of such Allowed Priority Tax
Claim to occur at a later date, or (c) at the sole option of the Debtors, Cash in the aggregate
amount of such Allowed Priority Tax Claim plus, to the extent provided for by section 511 of the
Bankruptcy Code, interest at a rate determined under applicable non-bankruptcy law, payable in
installment payments over a period of not more than five (5) years after the Petition Date
pursuant to section 1129(a)(9)(C) of the Bankruptcy Code. To the extent any Allowed Priority
Tax Claim is not due and owing on the Effective Date, such Allowed Priority Tax Claim shall be

                                                22
19-10384-shl    Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05            Main Document
                                          Pg 29 of 70


paid in full in Cash in accordance with the terms of any agreement between the Debtors and the
Holder of such Claim, or as may be due and payable under applicable non-bankruptcy law or in
the ordinary course of business as such obligations become due.

                                         ARTICLE III

   CLASSIFICATION, TREATMENT, AND VOTING OF CLAIMS AND INTERESTS

               3.1    Classification of Claims and Interests.

                        (a)     Pursuant to sections 1122 and 1123 of the Bankruptcy Code, set
forth below is a designation of classes of Claims and Interests. A Claim or Interest is placed in a
particular Class for the purposes of voting on the Plan and, to the extent applicable, receiving
distributions pursuant to the Plan only to the extent that such Claim or Interest is an Allowed
Claim or an Allowed Interest in that Class and such Claim or Interest has not been paid, released,
or otherwise settled prior to the Effective Date. In accordance with section 1123(a)(1) of the
Bankruptcy Code, Administrative Claims and Priority Tax Claims of the kinds specified in
sections 507(a)(1) and 507(a)(8) of the Bankruptcy Code have not been classified and their
treatment is set forth in Article II above.

                       (b)     For administrative convenience, the Plan organizes the Debtors
into groups (each a “Debtor Group”) and assigns a letter to each Debtor Group and a number to
each Class of Claims or Interests in each Debtor Group. Claims and Interests belonging to a
Debtor Group consisting of more than one Debtor shall be deemed to be classified in a single
Class for all purposes under the Bankruptcy Code, including voting. To the extent a Holder has
a Claim that may be asserted against more than one Debtor in a Debtor Group, the vote of such
Holder in connection with such Claims shall be counted as a vote of such Claim against each
Debtor in such Debtor Group. Notwithstanding this organizing principle, the Plan is a separate
plan of reorganization or liquidation for each Debtor. Such groupings shall not affect any
Debtor’s status as a separate legal Entity, result in substantive consolidation of any Estates,
change the organizational structure of the Debtors’ business enterprise, constitute a change of
control of any Debtor for any purpose, cause a merger or consolidation of any legal Entities, or
cause the transfer of any assets. Except as otherwise provided by or permitted under the Plan, all
Debtors shall continue to exist as separate legal Entities after the Effective Date.

                       (c)     For consistency, similarly designated Classes of Claims and
Interests are assigned the same number across each Debtor Group. The Plan provides for a
single Class of Holders of General Unsecured Claims without regard to Debtor entities at which
such Holders hold their Claims. For purposes of distributions to Holders of General Unsecured
Claims, "Pro Rata" shall be determined where (x) the denominator is equal to all Allowed
General Unsecured Claims against all Debtors and (y) the numerator is equal to the amount of a
particular Holder’s Allowed General Unsecured Claim. For voting purposes, the Debtors shall
tabulate ballots for Holders of General Unsecured Claims both on a Debtor-by-Debtor basis and
on aggregate basis without regard to particular Debtor entities and reserve the right to seek
Confirmation of the Plan under either tabulation through accepting Classes or cramdown.
Claims and Interests are classified as follows:


                                                23
19-10384-shl     Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05             Main Document
                                           Pg 30 of 70


Letter               Debtor Group                             #               Designation
         Ultimate Holding Company                             1    Priority First Lien Claims
  A        FC Pioneer Holding Company, LLC                    2    First Lien Claims
         Intermediate Holding Company                         3    Second Lien Claims
  B        Trident Holding Company, LLC                       4    Other Secured Claims
         Operating Companies                                  5    Other Priority Claims
          American Diagnostics Services, Inc.                 6    General Unsecured Claims
          Community Mobile Diagnostics, LLC                   7    PIK Notes Claims
          Community Mobile Ultrasound, LLC
                                                              8    Intercompany Claims
          Diagnostic Labs Holdings, LLC
          JLMD Manager, LLC                                   9    Other Subordinated Claims
          Kan-Di-Ki LLC                                      10    Interests in Debtor Subsidiaries
          Main Street Clinical Laboratory, Inc.              11    Interests in Pioneer
          MDX-MDL Holdings, LLC
          MetroStat Clinical Laboratory – Austin,
          Inc.
          MX Holdings, LLC
          MX USA, LLC
          New Trident Holdcorp, Inc.
  C
          Rely Radiology Holdings, LLC
          Schryver Medical Sales and Marketing,
          LLC
          Symphony Diagnostic Services No. 1,
          LLC
          Trident Clinical Services Holdings, Inc.
          Trident Clinical Services Holdings,
          LLC
          TridentUSA Foot Care Services LLC
          TridentUSA Mobile Clinical Services,
          LLC
          TridentUSA Mobile Infusion Services,
          LLC
          U.S. Lab & Radiology, Inc.

The classification of Claims and Interests (as applicable) under the Plan is as set forth below.

  Class(es)             Claim or Interest                    Status              Voting Rights

  1B – 1C      Priority First Lien Claims             Impaired               Entitled to Vote

  2B – 2C      First Lien Claims                      Impaired               Entitled to Vote

  3B – 3C      Second Lien Claims                     Impaired               Entitled to Vote

  4A – 4C      Other Secured Claims                   Unimpaired             Presumed to Accept


                                                 24
19-10384-shl    Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05           Main Document
                                          Pg 31 of 70



  Class(es)            Claim or Interest                    Status            Voting Rights

  5A – 5C      Other Priority Claims                   Unimpaired         Presumed to Accept

  6A – 6C      General Unsecured Claims                Impaired           Entitled to Vote

  7A – 7B      PIK Notes Claims                        Impaired           Deemed to Reject

  8A – 8C      Intercompany Claims                     Impaired or        Deemed to Reject or
                                                       Unimpaired         Presumed to Accept

  9A – 9C      Other Subordinated Claims               Impaired           Deemed to Reject

 10A – 10C     Interests in Debtor Subsidiaries        Impaired or        Deemed to Reject or
                                                       Unimpaired         Presumed to Accept

    11A        Interests in Pioneer                    Impaired           Deemed to Reject

                                         ARTICLE IV

                             PROVISIONS FOR TREATMENT
                              OF CLAIMS AND INTERESTS

               4.1    Priority First Lien Claims (Classes 1B and 1C)

                      (a)     Classification: Classes 1B and 1C consist of all Allowed Priority
First Lien Claims.

                   (b) Allowance: The Priority First Lien Claims are hereby Allowed
against Debtor Group B and Debtor Group C for all purposes in the amount of
$[259,387,485.15].

                        (c)     Treatment: Except to the extent that a Holder of an Allowed
Priority First Lien Claim agrees to a less favorable treatment, in full and final satisfaction,
settlement, release, and discharge of and in exchange for each and every Allowed Priority First
Lien Claim, on the Effective Date or as soon as reasonably practicable thereafter, each Holder of
an Allowed Priority First Lien Claim shall receive its Pro Rata share and interest in (i) the New
First Lien Facility, and (ii) 100% of the New Pioneer Units to be issued by Reorganized Pioneer,
subject to dilution on account of the Warrants and the Management Incentive Plan.

                        (d)    Voting: Classes 1B and 1C are Impaired and Holders of Allowed
Priority First Lien Claims are entitled to vote to accept or reject the Plan.

               4.2    First Lien Claims (Classes 2B and 2C)

                      (a)     Classification: Classes 2B and 2C consist of all Allowed First Lien
Claims.

                                                  25
19-10384-shl     Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05             Main Document
                                           Pg 32 of 70


                    (b)    Allowance: The First Lien Claims are hereby Allowed against
Debtor Group B and Debtor Group C for all purposes in the amount of $219,815,899.97.

                       (c)    Treatment: Except to the extent that a Holder of an Allowed First
Lien Claim agrees to a less favorable treatment, in full and final satisfaction, settlement, release,
and discharge of and in exchange for each and every Allowed First Lien Claim, on the Effective
Date or as soon as reasonably practicable thereafter:

                              (i)   If each of Class 2B, Class 2C, Class 3B, and Class 3C are
Accepting Classes, each Holder of an Allowed First Lien Claim shall receive its Pro Rata share
and interest in 4% of the Warrants.

                              (ii)    If each of Class 2B and Class 2C are Accepting Classes,
but Class 3B and Class 3C are not Accepting Classes, each Holder of an Allowed First Lien
Claim shall receive its Pro Rata share and interest in 5% of the Warrants.

                           (iii) If any of Class 2B or Class 2C are not Accepting Classes,
Holders of Allowed First Lien Claims shall not receive any distributions on account of such
Allowed First Lien Claims.

                       (d)     Voting: Classes 2B and 2C are Impaired and Holders of Allowed
First Lien Claims are entitled to vote to accept or reject the Plan.

               4.3     Second Lien Claims (Classes 3B and 3C)

                       (a)     Classification: Classes 3B and 3C consist of all Allowed Second
Lien Claims.

                    (b)    Allowance: The Second Lien Claims are hereby Allowed against
Debtor Group B and Debtor Group C for all purposes in the amount of $[175,567,909.46].

                       (c)     Treatment: Except to the extent that a Holder of an Allowed
Second Lien Claim agrees to a less favorable treatment, in full and final satisfaction, settlement,
release, and discharge of and in exchange for each and every Allowed Second Lien Claim, on the
Effective Date or as soon as reasonably practicable thereafter:

                               (i)   If each of Class 2B, Class 2C, Class 3B, and Class 3C are
Accepting Classes, each Holder of an Allowed Second Lien Claim shall receive its Pro Rata
share and interest in 1% of the Warrants.

                              (ii)   If any of Class 2B, Class 2C, Class 3B, or Class 3C are
not Accepting Classes, Holders of Allowed Second Lien Claims shall not receive any
distributions on account of such Allowed Second Lien Claims.

                     (d)     Voting: Classes 3B and 3C are Impaired and Holders of Allowed
Second Lien Claims are entitled to vote to accept or reject the Plan.



                                                 26
19-10384-shl      Doc 252    Filed 03/25/19 Entered 03/25/19 20:01:05            Main Document
                                           Pg 33 of 70


               4.4     Other Secured Claims (Classes 4A – 4C)

                       (a)    Classification: Classes 4A through 4C consist of all Allowed Other
Secured Claims.

                        (b)    Treatment: Except as otherwise provided in and subject to Article
9.5 of this Plan, and except to the extent that a Holder of an Allowed Other Secured Claim agrees
to a less favorable treatment, in full and final satisfaction, settlement, release, and discharge of
and in exchange for each and every Allowed Other Secured Claim, each such Holder of an
Allowed Other Secured Claim shall, at the option of the Debtors or the Reorganized Debtors and
with the consent of the Priority First Lien Administrative Agent, as applicable:

                             (i)    have its Allowed Other Secured Claim Reinstated and
rendered Unimpaired, or otherwise have its Claim rendered Unimpaired, in each case in
accordance with section 1124(2) of the Bankruptcy Code, notwithstanding any contractual
provision or applicable non-bankruptcy law that entitles the Holder of an Allowed Other Secured
Claim to demand or receive payment of such Allowed Other Secured Claim prior to the stated
maturity of such Allowed Other Secured Claim from and after the occurrence of a default;

                              (ii)   be paid in full in Cash in an amount equal to such Allowed
Other Secured Claim, including postpetition interest, if any, on such Allowed Other Secured
Claim required to be paid pursuant to section 506 of the Bankruptcy Code as the case may be, on
the later of (x) the Effective Date and (y) the date such Other Secured Claim becomes an
Allowed Claim or as soon thereafter as reasonably practicable; or

                              (iii) receive such other less favorable treatment as to which the
Debtors or Reorganized Debtors and such Holder of such Allowed Other Secured Claim will
have agreed upon in writing; or

                           (iv)       receive delivery of the collateral securing any such
Allowed Other Secured Claim;

provided, that Allowed Other Secured Claims incurred by the Debtors in the ordinary course of
business may be paid in the ordinary course of business in accordance with such applicable terms
and conditions relating thereto in the discretion of the Debtors or Reorganized Debtors without
further notice to or order of the Bankruptcy Court. Nothing in this Article 4.4 or elsewhere in
this Plan shall preclude the Debtors (or the Reorganized Debtors) from challenging the validity
of any alleged Lien or any asset of the Debtors or the value of the property that secures any
alleged Lien allegedly securing an Allowed Other Secured Claim.

                        (c)     Voting: Classes 4A, 4B, and 4C are Unimpaired, and Holders of
Allowed Other Secured Claims are conclusively presumed to have accepted the Plan pursuant to
section 1126(f) of the Bankruptcy Code. Therefore, Holders of Allowed Other Secured Claims
are not entitled to vote to accept or reject the Plan.




                                                27
19-10384-shl       Doc 252   Filed 03/25/19 Entered 03/25/19 20:01:05            Main Document
                                           Pg 34 of 70


               4.5     Other Priority Claims (Classes 5A – 5C)

                       (a)    Classification: Classes 5A through 5C consist of all Allowed Other
Priority Claims.

                        (b)    Treatment: Except as otherwise provided in and subject to Article
9.5 of this Plan, and except to the extent that a Holder of an Allowed Other Priority Claim agrees
to a less favorable treatment, in full and final satisfaction, settlement, release, and discharge of
and in exchange for each and every Allowed Other Priority Claim, each such Holder of an
Allowed Other Priority Claim shall be paid in full in Cash on the Effective Date or on such other
date as agreed between the Debtors (or the Reorganized Debtors), with the consent of the Priority
First Lien Administrative Agent, and such Holder of an Allowed Other Priority Claim; provided,
however, that Other Priority Claims that arise in the ordinary course of the Debtors’ business and
which are not due and payable on or before the Effective Date shall be paid in the ordinary
course of business in accordance with the terms thereof.

                        (c)     Voting: Classes 5A, 5B, and 5C are Unimpaired, and Holders of
Allowed Other Priority Claims are conclusively presumed to have accepted the Plan pursuant to
section 1126(f) of the Bankruptcy Code. Therefore, Holders of Allowed Other Priority Claims
are not entitled to vote to accept or reject the Plan.

               4.6     General Unsecured Claims (Classes 6A – 6C)

                    (a)   Classification: Classes 6A through 6C consist of all Allowed
General Unsecured Claims.

                      (b)    Treatment: Except to the extent that a Holder of an Allowed
General Unsecured Claim agrees to a less favorable treatment, in full and final satisfaction,
settlement, release, and discharge of and in exchange for each and every Allowed General
Unsecured Claim:

                            (i)  If Class 6C is an Accepting Class, each Holder of an
Allowed General Unsecured Claim shall receive its Pro Rata share and interest in the General
Unsecured Claims Cash Pool.

                          (ii)   If Class 6C is not an Accepting Class, Holders of Allowed
General Unsecured Claims shall not receive any distributions on account of such Allowed
General Unsecured Claims.

                    (c)    Voting: Classes 6A, 6B, and 6C are Impaired and Holders of
Allowed General Unsecured Claims are entitled to vote to accept or reject the Plan.

               4.7     PIK Note Claims (Classes 7A – 7B)

                       (a)    Classification: Classes 7A and 7B consist of all Allowed PIK Note
Claims.



                                                28
19-10384-shl    Doc 252      Filed 03/25/19 Entered 03/25/19 20:01:05           Main Document
                                           Pg 35 of 70


                     (b)    Treatment: On the Effective Date, all of the Debtors’ outstanding
obligations under the PIK Notes shall be extinguished, canceled, and discharged, and each
Holder of a PIK Note Claim shall receive no distribution on account of such Claim.

                        (c) Voting: Classes 7A and 7B are Impaired, and Holders of Allowed
PIK Note Claims are deemed to have rejected the Plan pursuant to section 1126(g) of the
Bankruptcy Code. Therefore, Holders of Allowed PIK Note Claims are not entitled to vote to
accept or reject the Plan.

               4.8     Intercompany Claims (Classes 8A – 8C)

                       (a)    Classification:   Classes 8A through 8C consist of all Allowed
Intercompany Claims.

                     (b)    Treatment: On the Effective Date, all net Intercompany Claims
(taking into account any setoffs of Intercompany Claims) held by the Debtors between and
among any Affiliate of the Debtors shall be either reinstated, cancelled, released, or otherwise
settled in the Debtors’ discretion (with the reasonable consent of the Priority First Lien
Administrative Agent).

                       (c)    Voting: Classes 8A, 8B, and 8C are either:

                              (i)    Impaired, and Holders of Allowed applicable Class 8
Claims are deemed to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy Code
and, therefore, such Holders of Allowed Class 8 Claims are not entitled to vote to accept or reject
the Plan; or

                            (ii)   Unimpaired, and Holders of Allowed applicable Class 8
Claims are conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
Bankruptcy Code and, therefore, Holders of Allowed Class 8 Claims are not entitled to vote to
accept or reject the Plan.

               4.9     Other Subordinated Claims (Classes 9A – 9C)

                     (a)   Classification: Classes 9A through 9C consist of all Allowed
Bankruptcy Code section 510(b) and (c) Claims.

                       (b)     Treatment: Holders of Allowed Other Subordinated Claims shall
not receive any distributions on account of such Allowed Other Subordinated Claims.

                        (c)     Voting: Classes 9A, 9B, and 9C are Impaired, and Holders of
Allowed Other Subordinated Claims are deemed to have rejected the Plan pursuant to section
1126(g) of the Bankruptcy Code. Therefore, Holders of Allowed Other Subordinated Claims are
not entitled to vote to accept or reject the Plan.




                                                29
19-10384-shl     Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05             Main Document
                                           Pg 36 of 70


               4.10    Interests in Debtor Subsidiaries (Classes 10B – 10C)

                       (a)     Classification:   Classes 10B and 10C consist of all Allowed
Interests in Debtor Subsidiaries.

                       (b)      Treatment: On the Effective Date, all Allowed Interests in Debtor
Subsidiaries shall be either reinstated or cancelled in the Debtors’ discretion (with the reasonable
consent of the Priority First Lien Administrative Agent). To the extent reinstated, Interests in
Debtor Subsidiaries are Unimpaired solely to preserve the Debtors’ corporate structure and
Holders of those Interests shall not otherwise receive or retain any property on account of such
Interests.

                       (c)     Voting: Classes 10B and 10C are either:

                             (i)    Impaired, and Holders of Allowed applicable Class 10
Claims are deemed to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy Code
and, therefore, such Holders of Allowed Class 10 Claims are not entitled to vote to accept or
reject the Plan; or

                            (ii)   Unimpaired, and Holders of Allowed applicable Class 10
Claims are conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
Bankruptcy Code and, therefore, Holders of Allowed Class 10 Claims are not entitled to vote to
accept or reject the Plan.

               4.11    Interests in Pioneer (Class 11A)

                       (a)     Classification: Class 11A consists of all Interests in Pioneer.

                     (b)     Treatment: On the Effective Date, Allowed Class 11A Interests
shall be deemed automatically cancelled, released, and extinguished without further action by the
Debtors or the Reorganized Debtors.

                     (c)    Voting: Class 11A is Impaired, and Holders of Allowed Class 11A
Interests are deemed to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy
Code. Therefore, Holders of Allowed Class 11A Interests are not entitled to vote to accept or
reject the Plan.

                                           ARTICLE V

                                         ACCEPTANCE

                5.1     Classes Entitled to Vote. Classes 1B, 1C, 2B, 2C, 3B, 3C, and 6A – 6C
are entitled to vote to accept or reject this Plan. By operation of law, Classes 4A – 4C, 5A – 5C,
7A, 7B, 8A – 8C, 10A – 10C, and 11A are either deemed to have accepted this Plan or to have
rejected this Plan and are not entitled to vote.

              5.2     Acceptance by Impaired Classes. An Impaired Class of Claims shall
have accepted this Plan if, not counting the vote of any Holder designated under section 1126(e)

                                                 30
19-10384-shl    Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05            Main Document
                                          Pg 37 of 70


of the Bankruptcy Code, (a) the Holders of at least two-thirds in amount of the Allowed Claims
actually voting in the Class have voted to accept this Plan and (b) the Holders of more than one-
half in number of the Allowed Claims actually voting in the Class have voted to accept the Plan.

              5.3    Elimination of Classes. To the extent applicable, any Class that does not
contain any Allowed Claims or any Claims temporarily allowed for voting purposes under
Bankruptcy Rule 3018, as of the date of commencement of the Confirmation Hearing, shall be
deemed to have been deleted from this Plan for purposes of (a) voting to accept or reject this
Plan and (b) determining whether it has accepted or rejected this Plan under section 1129(a)(8)
of the Bankruptcy Code.

               5.4     Special Provision Governing Unimpaired Claims. Except as otherwise
provided in the Plan, nothing under the Plan shall affect the rights of the Debtors or Reorganized
Debtors, as applicable, in respect of any Unimpaired Claims, including all rights in respect of
legal and equitable defenses to, or setoffs or recoupments against, any such Unimpaired Claims.

                5.5     Deemed Acceptance if No Votes Cast. If no Holders of Claims eligible
to vote in a particular Class vote to accept or reject the Plan, this Plan shall be deemed accepted
by the Holders of such Claims in such Class.

               5.6    Cramdown.        To the extent necessary, the Debtors shall request
confirmation of this Plan, as it may be modified from time to time, under section 1129(b) of the
Bankruptcy Code. The Debtors reserve the right to modify, amend, or withdraw this Plan, with
respect to all Debtors or any individual Debtor, or group of Debtors to the extent, if any, that
confirmation pursuant to section 1129(b) of the Bankruptcy Code requires modification.

                                          ARTICLE VI

                     MEANS FOR IMPLEMENTATION OF THE PLAN

                6.1     No Substantive Consolidation. The Plan is being proposed as a joint plan
of reorganization for the Debtors for administrative purposes only and constitutes a separate
chapter 11 plan for each Debtor. The Plan is not premised on, and does not provide for, the
substantive consolidation of the Debtors with respect to the Classes of Claims or Interests set
forth in the Plan, or otherwise.

                6.2     General Settlement of Claims and Interests. Pursuant to section 1123 of
the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for the classification,
distributions, releases, and other benefits provided under the Plan, on the Effective Date, the
provisions of the Plan shall constitute good-faith compromise and settlement of all Claims and
Interests and controversies relating to the contractual, legal, and subordination rights that a
Holder of a Claim or Interest may have with respect to any Allowed Claim or Interest or any
distribution to be made on account of such Allowed Claim or Interest.

               6.3    Restructuring Transactions.




                                                31
19-10384-shl    Doc 252      Filed 03/25/19 Entered 03/25/19 20:01:05            Main Document
                                           Pg 38 of 70


                         (a)    On or after the Confirmation Date, with the consent of the Priority
First Lien Administrative Agent, the Debtors shall be authorized to enter into such transactions
and take such other actions as may be necessary or appropriate to effect a corporate restructuring
of their businesses, to otherwise simplify the overall corporate structure of the Debtors, or to
organize certain of the Debtors under the laws of jurisdictions other than the laws of which such
Debtors currently are organized, which restructuring may include one or more mergers,
consolidations, dispositions, liquidations, or dissolutions as may be determined by the Debtors to
be necessary or appropriate to result in substantially all of the respective assets, properties,
rights, liabilities, duties, and obligations of certain of the Debtors vesting in one or more
surviving, resulting, or acquiring Entities (collectively, the “Restructuring Transactions”). In
each case in which the surviving, resulting, or acquiring Entity in any such transaction is a
successor to a Debtor, such surviving, resulting, or acquiring Entity shall perform the obligations
of such Debtor pursuant to the Plan to satisfy the Allowed Claims against, or Allowed Interests
in, such Debtor, except as provided in any contract, instrument, or other agreement or document
effecting a disposition to such surviving, resulting, or acquiring Entity, which may provide that
another Debtor shall perform such obligations.

                        (b)    In effecting the Restructuring Transactions, with the consent of the
Priority First Lien Administrative Agent, the Debtors shall be permitted to (i) execute and deliver
appropriate agreements or other documents of merger, consolidation, restructuring, disposition,
liquidation, or dissolution containing terms that are consistent with the terms of the Plan and that
satisfy the requirements of applicable state law and such other terms to which the applicable
entities may agree; (ii) execute and deliver appropriate instruments of transfer, assignment,
assumption, or delegation of any asset, property, right, liability, duty, or obligation on terms
consistent with the terms of the Plan and having such other terms to which the applicable entities
may agree; (iii) file appropriate certificates or articles of merger, consolidation, or dissolution
pursuant to applicable state law; and (iv) take all other actions that the applicable Entities
determine to be necessary or appropriate, including making filings or recordings that may be
required by applicable state law in connection with such transactions.

              6.4     Sources of Cash for Plan Distribution. All Cash required for payments
to be made under the Plan on the Effective Date shall be obtained first from Cash on hand,
second, if necessary, a Capital Raising Transaction, and third, if necessary and if no Capital
Raising Transaction has been arranged, the Exit Liquidity Facility.

                6.5    Exit Liquidity Facility. With the reasonable consent of the Debtors, the
Priority First Lien Administrative Agent may arrange for a Capital Raising Transaction to
provide the Debtors with sufficient Cash to make payments required to be made under the Plan
and to satisfy the Minimum Liquidity Condition Precedent. If the Debtors reasonably determine
an Exit Liquidity Facility is necessary to satisfy the Minimum Liquidity Condition Precedent and
the Priority First Lien Administrative Agent elects not to arrange for a Capital Raising
Transaction, the Debtors may arrange for an Exit Liquidity Facility, which shall be entered into
on the Effective Date. The Reorganized Debtors shall be authorized to execute, deliver, and enter
into and perform under the Exit Liquidity Facility Documents without the need for any further
corporate or limited liability company action and without further action by the holders of Claims
or Interests.


                                                32
19-10384-shl    Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05            Main Document
                                          Pg 39 of 70


                6.6    Exit Term Loan Facility. On the Effective Date, all Allowed DIP Facility
Claims, shall be automatically converted to and deemed to be obligations under the Exit Term
Loan Facility Credit Agreement, and all Collateral (as such term is defined in the DIP Credit
Agreement) that secures the obligations of the Reorganized Debtors under the DIP Documents
shall be reaffirmed, ratified, and shall automatically secure all obligations under the Exit Term
Loan Facility Credit Agreement. The Reorganized Debtors shall be authorized to execute,
deliver, and enter into and perform under the Exit Term Loan Facility Documents without the
need for any further corporate or limited liability company action and without further action by
the holders of Claims or Interests.

                6.7    New First Lien Facility. On the Effective Date, all Holders of Allowed
Priority First Lien Claims shall receive their Pro Rata share and interest in the New First Lien
Facility, which shall be junior in lien priority to the Exit Term Loan Facility. The Reorganized
Debtors shall be authorized to execute, deliver, and enter into and perform under the New First
Lien Facility Documents without the need for any further corporate or limited liability company
action and without further action by the holders of Claims or Interests.

                6.8    Authorization, Issuance, and Distribution of New Pioneer Units. On
the Effective Date, Reorganized Pioneer shall authorize and issue the New Pioneer Units to
Holders of Allowed Priority First Lien Claims. Distribution of New Pioneer Units hereunder
shall constitute issuance of 100% of such New Pioneer Units and in each case shall be deemed
issued on the Effective Date, subject to dilution on account of the Warrants and the Management
Incentive Plan. The issuance of New Pioneer Units by Reorganized Pioneer is authorized
without the need for any further corporate action or without any further action by the Debtors or
the Reorganized Debtors, as applicable. All of the New Pioneer Units issued pursuant to the
Plan shall be duly authorized, validly issued, fully paid, and non-assessable.

               6.9    General Unsecured Claims Cash Pool.

                        (a)      On the Effective Date, the Debtors (or the Reorganized Debtors, as
the case may be) shall establish and fund the General Unsecured Claims Cash Pool Account with
Cash in an amount equal to the General Unsecured Claims Cash Pool, which shall be held in
trust for (i) Pro Rata distributions on account of Allowed General Unsecured Claims as provided
herein and (ii) GUC Administrator Costs.

                        (b)     The General Unsecured Claims Cash Pool Account (x) shall not be
and shall not be deemed property of the Debtors or the Reorganized Debtors or their Estates, (y)
shall be held in trust to fund distributions and pay GUC Administrator Costs as provided herein,
and (z) shall not be encumbered by any Liens, Claims, or Interests in any way.

                6.10 Exemptions from Securities Act Registration Requirements. Except
with respect to the New Pioneer Units underlying the Management Incentive Plan, the Warrants
and all New Pioneer Units issued under the Plan (including any units issued upon the exercise of
the Warrants) will be issued without registration under the Securities Act or any similar federal,
state, or local law in reliance upon section 1145 of the Bankruptcy Code. New Pioneer Units
issued under the Plan (including any shares issued upon the exercise of the Warrants) in reliance
upon section 1145 of the Bankruptcy Code are exempt from, among other things, the registration

                                                33
19-10384-shl     Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05              Main Document
                                           Pg 40 of 70


requirements of Section 5 of the Securities Act and any other applicable U.S. state or local law
requiring registration prior to the offering, issuance, distribution, or sale of Securities. The New
Pioneer Units issued pursuant to section 1145 of the Bankruptcy Code (a) are not a “restricted
security” as defined in Rule 144(a)(3) under the Securities Act, and (b) are freely tradable and
transferable by any holder thereof that (i) is not an “affiliate” of the Reorganized Debtors as
defined in Rule 144(a)(1) under the Securities Act, (ii) has not been such an “affiliate” within 90
days of such transfer, (iii) has not acquired the New Pioneer Units from an “affiliate” within one
year of such transfer, and (iv) is not an entity that is an “underwriter” as defined in subsection (b)
of section 1145 of the Bankruptcy Code. New Pioneer Units issued to holders of Priority First
Lien Claims and Warrants issued to holders of First Lien Claims and Second Lien Claims, in
each case in exchange for such Claims, shall be issued in reliance on section 1145 of the
Bankruptcy Code. New Pioneer Units underlying the Management Equity Incentive Plan will be
issued pursuant to another available exemption from registration under the Securities Act and
other applicable law.

               6.11    Cancellation of Existing Securities and Agreements

                       (a)     Except for the purpose of evidencing a right to a distribution under
the Plan and except as otherwise set forth in the Plan, including with respect to executory
contracts or unexpired leases that shall be assumed by the Debtors, on the Effective Date, except
to the extent otherwise provided in this Plan, all notes, instruments, Certificates, Old Securities
and other documents evidencing or creating any indebtedness or obligation of or ownership in
the Debtors shall be cancelled, and the obligations in any way related thereto shall be fully
satisfied, released, and discharged. On the Effective Date, except to the extent otherwise
provided in this Plan, all Interests in the Debtors shall be cancelled, and the obligations in any
way related thereto shall be fully satisfied, released, and discharged.

                       (b)    Notwithstanding the foregoing, any provision in any document,
instrument, lease, or other agreement that causes or effectuates, or purports to cause or
effectuate, a default, termination, waiver, or other forfeiture of, or by, the Debtors of their
interests, as a result of the cancellations, terminations, satisfaction, releases, or discharges
provided for in this Article 6.11 shall be deemed null and void and shall be of no force and
effect.

                6.12 Issuance and Distribution of New Securities; Execution of Plan
Documents. Except as otherwise provided in the Plan, on or as soon as reasonably practicable
after the Effective Date, the Reorganized Debtors shall issue and/or deliver all Securities, notes,
instruments, Certificates, and other documents required to be issued pursuant to the Plan.

               6.13    Continued Corporate Existence.

                       (a)     Except as otherwise provided in the Plan, the Debtors shall
continue to exist after the Effective Date as separate entities, the Reorganized Debtors, with all
the powers of a corporation or limited liability company under applicable law in the jurisdiction
in which each respective Debtor is incorporated or formed and pursuant to its respective charter,
bylaws, limited liability company agreement, partnership agreement or other organizational
documents in effect prior to the Effective Date, except to the extent such organization documents

                                                 34
19-10384-shl    Doc 252      Filed 03/25/19 Entered 03/25/19 20:01:05            Main Document
                                           Pg 41 of 70


are amended and restated by this Plan, without prejudice to any right to terminate such existence
(whether by merger or otherwise) under applicable law after the Effective Date. To the extent
such documents are amended, such documents are deemed to be amended pursuant to the Plan
without any further notice to or action, order, or approval of the Bankruptcy Court or any other
court of competent jurisdiction (other than the requisite filings required under applicable state,
provincial, or federal law).

                     (b)     Except as otherwise provided in the Plan, the continued existence,
operation, and ownership of Affiliates is a material component of the business of the Debtors and
the Reorganized Debtors, as applicable, and, as set forth in Article 10.1 of this Plan, all of the
Debtors’ equity interests and other property interests in such Affiliates shall vest in the
Reorganized Debtors or their successors on the Effective Date.

               6.14 New Corporate Governance Documents.                      The certificates of
incorporation and bylaws (or other formation documents relating to limited liability companies,
limited partnerships, or other forms of Entity) of the Debtors, which documents shall be in form
and substance acceptable to the Priority First Lien Administrative Agent, shall be adopted and
amended in a form as may be required to be consistent with the provisions of the Plan and the
Bankruptcy Code (including Bankruptcy Code section 1123(a)(6)), with the form and substance
of the Pioneer LLC Agreement set forth on Exhibit 6.14. After the Effective Date, the
Reorganized Debtors may amend and restate their respective certificates of incorporation and
bylaws (or other formation documents relating to limited liability companies, limited
partnerships, or other forms of Entity) as permitted by applicable state corporation or business
entity law and their respective charters and bylaws or other organizational documents.

              6.15 Directors, LLC Managers, and Officers of Reorganized Debtors.
Pursuant to section 1129(a)(5) of the Bankruptcy Code, the identity and affiliations of each
proposed member of Reorganized Debtors’ initial board of directors (or other applicable
governing body) (and, to the extent such Person is an insider, the nature of any compensation for
such Person) shall be disclosed in the Plan Supplement or as announced on the record at the
Confirmation Hearing. The number of members of the New Boards and the identities thereof,
and any senior officers of the Reorganized Debtors not presently serving in such capacity, shall
be determined by the Priority First Lien Administrative Agent, but shall include the Chief
Executive Officer of the Reorganized Debtors.

       Except as otherwise provided in the Plan Supplement, the officers of the respective
Debtors immediately before the Effective Date, as applicable, shall serve as the initial officers of
each of the Reorganized Debtors on and after the Effective Date.

       Commencing on the Effective Date, each of the directors and managers of each of the
Reorganized Debtors shall be elected and serve pursuant to the terms of the applicable
organizational documents of such Reorganized Debtor and may be replaced or removed in
accordance with such organizational documents.

               6.16 Corporate Action. Each of the matters provided for under this Plan
involving the corporate structure of the Debtors or the Reorganized Debtors or corporate action
to be taken by or required of the Debtors or the Reorganized Debtors shall, as of the Effective

                                                35
19-10384-shl     Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05              Main Document
                                           Pg 42 of 70


Date, be deemed to have occurred and be effective as provided herein, and shall be authorized,
approved, and to the extent taken prior to the Effective Date, ratified in all respects without any
requirement of further action by stockholders, members, creditors, managers, or directors of the
Debtors or the Reorganized Debtors. Such actions may include, (a) the adoption of the Pioneer
LLC Agreement and any other new corporate governance documents, (b) the appointment of the
New Boards, (c) the issuance and distribution of New Pioneer Units, and (d) all other actions
contemplated by this Plan (whether to occur before, on, or after the Effective Date).

                6.17 Effectuating Documents; Further Transactions. On and after the
Effective Date, the Reorganized Debtors, and the officers thereof and members of the New
Boards, shall be authorized to and may issue, execute, deliver, file, or record such contracts,
Securities, instruments, releases, indentures, and other agreements or documents, and take such
actions as may be necessary or appropriate to effectuate, implement, and further evidence the
terms and conditions of this Plan, or to otherwise comply with applicable law, in the name of and
on behalf of the Reorganized Debtors, without the need for any approvals, authorizations, or
consents except for those expressly required pursuant to the Plan.

            6.18 Employment, Retirement, Indemnification, and Other Agreements
and Employee Compensation Programs.

                      (a)     Employment Agreements. All employment and compensation-
related agreements of the Company as of the Petition Date, including any indemnification and
severance obligations and guaranteed bonus amounts, and incentive compensation plans related
thereto, shall be assumed. The Debtors, with the consent of the Priority First Lien
Administrative Agent with respect to Specified Executives, may also enter into new employment
arrangements and/or change in control agreements with individuals who will serve as officers of
the Reorganized Debtors after the Effective Date. On the Effective Date or as soon as
reasonably practicable thereafter, the Reorganized Debtors may adopt, approve, and authorize
any new employment arrangements with respect to such officers of the Reorganized Debtors
without further action, order, or approval of the New Boards. To the extent any employment-
related agreements contain a sale-related bonus, the Reorganized Debtors shall renegotiate such
bonus in good faith based upon the Reorganized Debtors’ capital structure. On and after the
Effective Date, Cash and bonus compensation and benefits shall be determined by the New
Pioneer Board subject to the terms of the Plan Transaction Documents and any agreements being
modified.

                     (b)    Management Incentive Plan. After the Effective Date, equity
grants under the Management Incentive Plan shall be reserved for directors, managers, officers,
and employees of the Reorganized Debtors on terms determined by the New Pioneer Board. The
Reorganized Debtors shall have the right to set additional equity awards for the benefit of
members of the New Pioneer Board after the Effective Date.

                       (c)     Indemnification. For purposes of this Plan, the respective
obligations of the Debtors to indemnify and reimburse any persons who are directors, managers,
officers or employees of the Debtors immediately prior to the Effective Date, against and for any
obligations pursuant to certificates or articles of incorporation, certificates of formation, codes of
regulation, bylaws, limited liability company agreements, partnership agreements, applicable

                                                 36
19-10384-shl    Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05           Main Document
                                          Pg 43 of 70


state or non-bankruptcy law, or specific agreements or any combination of the foregoing, shall
survive confirmation of this Plan, remain unaffected thereby, and not be discharged under
section 1141 of the Bankruptcy Code, irrespective of whether indemnification or reimbursement
is owed in connection with any event occurring before, on, or after the Petition Date.

                        (d)    Other Incentive Plans and Employee Benefits. On and after the
Effective Date, the Reorganized Debtors shall adopt, assume, and honor, in the ordinary course
of business, any contracts, agreements, policies, programs, and plans for, among other things,
compensation, pursuant to the terms thereof or hereof, including any employee compensation
plans, any incentive plan including the Annual Incentive Plan, 401(k) plan, health care benefits,
disability benefits, deferred compensation benefits, savings, severance benefits, retirement
benefits, welfare benefits, workers’ compensation benefits, life insurance, and accidental death
and dismemberment insurance for the directors, officers, and employees of the Debtors who
served in such capacity from and after the Petition Date, and shall honor, in the ordinary course
of business, Claims of employees employed as of the Effective Date for accrued vacation time
arising prior to the Petition Date. After the Effective Date, the Reorganized Debtors may amend
or restate any program of the type described in this paragraph, in accordance with applicable law
in the ordinary course of business subject to the terms of Plan Transaction Documents and the
terms of the program being amended and restated.

                6.19 Preservation Of Causes Of Action. In accordance with section
1123(b)(3) of the Bankruptcy Code, the Reorganized Debtors shall retain and may (but are not
required to) enforce all rights to commence and pursue any and all Causes of Action that are not
released pursuant to Article 10.3 of this Plan or an order of the Bankruptcy Court, whether
arising before or after the Petition Date, including any actions or categories of actions
specifically enumerated in Exhibit 6.19, and such Causes of Action shall vest in the Reorganized
Debtors as of the Effective Date. The Reorganized Debtors, in their sole and absolute discretion,
shall determine whether to bring, settle, release, compromise, or enforce such Causes of Action
(or decline to do any of the foregoing), and shall not be required to seek further approval of the
Bankruptcy Court for such action. The Reorganized Debtors or any successors may pursue such
litigation claims in accordance with the best interests of the Reorganized Debtors or any
successor holding such rights of action. No Entity may rely on the absence of a specific
reference in the Plan, the Plan Supplement, or the Disclosure Statement to any Cause of
Action against them as any indication that the Debtors or the Reorganized Debtors will not
pursue any and all available Causes of Action against them. The Debtors and the
Reorganized Debtors expressly reserve all rights to prosecute any and all Causes of Action
against any Entity, except as otherwise provided in the Plan.

                6.20 Reservation of Rights. With respect to any Cause of Action that the
Reorganized Debtors expressly abandon, if any, the Reorganized Debtors reserve all rights,
including the right under Bankruptcy Code section 502(d) to use defensively the abandoned
Causes of Action as a basis to object to all or any part of a claim against any of the Estates
asserted by a creditor who obtains the benefit of the abandoned Cause of Action. Except as set
forth in Article 10.3 of this Plan, nothing contained in this Plan shall constitute or be deemed a
waiver or abandonment of any Cause of Action that the Reorganized Debtors may hold against
any other Entity, including insurers under any policies of insurance, nor shall anything contained


                                               37
19-10384-shl     Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05             Main Document
                                           Pg 44 of 70


herein constitute or be deemed a waiver by such insurers of any defenses, including coverage
defenses, held by such insurers.

                6.21 Exemption from Certain Transfer Taxes and Recording Fees.
Pursuant to section 1146(a) of the Bankruptcy Code, any transfers of property pursuant to the
Plan shall not be subject to any document recording tax, stamp tax, conveyance fee, intangibles
or similar tax, mortgage tax, stamp act, real estate transfer tax, mortgage recording tax, sales tax,
use tax, or other similar tax or governmental assessment to the fullest extent contemplated by
section 1146(a) of the Bankruptcy Code, and upon entry of the Confirmation Order, the
appropriate state or local governmental officials or agents to forgo the collection of any such tax
or governmental assessment and to accept for filing and recordation any of the foregoing
instruments or other documents without the payment of any such tax or governmental
assessment.

                6.22 Insured Claims. Notwithstanding anything to the contrary contained
herein, to the extent the Debtors have insurance with respect to any Allowed General Unsecured
Claim, the Holder of such Allowed Claim shall (a) be paid any amount from the proceeds of
insurance to the extent that the Claim is insured, and (b) solely for the portion of such Claim that
is not paid by the applicable insurance policy, receive the treatment provided for in this Plan for
Allowed General Unsecured Claims.

                 6.23 Intercompany Account Settlement. The Debtors and the Reorganized
Debtors, and their respective Affiliates will be entitled to transfer funds between and among
themselves as they determine to be necessary or appropriate to enable the Reorganized Debtors
to satisfy their obligations under the Plan.

                6.24 Closing of Chapter 11 Cases. The Debtors or the Reorganized Debtors,
as applicable, shall seek authority from the Bankruptcy Court to close the applicable Chapter 11
Case(s) in accordance with the Bankruptcy Code and Bankruptcy Rules.

              6.25 Private Company. It is anticipated that the Reorganized Debtors shall be
private companies as of the Effective Date and shall not register any of their respective equity
with the SEC or list such equity on an exchange as of the Effective Date.

                                          ARTICLE VII

                 UNEXPIRED LEASES AND EXECUTORY CONTRACTS

               7.1     Rejection of Executory Contracts and Unexpired Leases.

                       (a)     Automatic Rejection. Except as otherwise provided herein, each
Executory Contract and Unexpired Lease shall be deemed automatically rejected pursuant to
sections 365 and 1123 of the Bankruptcy Code as of the Effective Date, unless any such
Executory Contract or Unexpired Lease: (i) is listed on the schedule of “Assumed Executory
Contracts and Unexpired Leases” contained in Exhibit 7.1 of the Plan; (ii) has been previously
assumed or rejected by the Debtors by Final Order of the Bankruptcy Court or has been assumed
by the Debtors by order of the Bankruptcy Court as of the Effective Date, which order becomes a
Final Order after the Effective Date; (iii) is the subject of a motion to assume or reject pending as
                                                 38
19-10384-shl    Doc 252      Filed 03/25/19 Entered 03/25/19 20:01:05            Main Document
                                           Pg 45 of 70


of the Effective Date; (iv) is an Executory Contract related to any Intercompany Claim; or (v) is
otherwise assumed pursuant to the terms herein.

        The Confirmation Order will constitute an order of the Bankruptcy Court approving such
rejections pursuant to sections 365 and 1123 of the Bankruptcy Code as of the Effective
Date. Counterparties to Executory Contracts or Unexpired Leases that are deemed rejected as of
the Effective Date shall have the right to assert any Claim on account of the rejection of such
Executory Contracts or Unexpired Leases, including under section 502(g) of the Bankruptcy
Code, subject to compliance with the requirements herein.

                      (b)    Preexisting Obligations to the Debtors Under Executory
Contracts and Unexpired Leases. Rejection of any Executory Contract or Unexpired Lease
pursuant to the Plan or otherwise shall not constitute a termination of pre-existing obligations
owed to the Debtors under such contracts or leases. In particular, notwithstanding any non-
bankruptcy law to the contrary, the Reorganized Debtors expressly reserve and do not waive any
right to receive, or any continuing obligation of a counterparty to provide, warranties or
continued maintenance obligations on goods previously purchased by the contracting Debtors or
the Reorganized Debtors, as applicable, from counterparties to rejected or repudiated Executory
Contracts.

                        (c)     Claims Procedures Related to Rejection of Executory
Contracts or Unexpired Leases. Unless otherwise provided by a Bankruptcy Court order, any
proofs of Claim asserting Claims arising from the rejection of the Executory Contracts and
Unexpired Leases pursuant to the Plan or otherwise must be filed with the Claims and
Solicitation Agent no later than 30 days after the later of the Effective Date or the effective date
of rejection. Any proofs of Claim arising from the rejection of the Executory Contracts or
Unexpired Leases that are not timely filed shall be disallowed automatically and forever barred,
estopped, and enjoined from assertion and shall not be enforceable against the Debtors or the
Reorganized Debtors, without the need for any objection by the Reorganized Debtors or any
further notice to or action, order, or approval of the Bankruptcy Court, and any Claim arising out
of the rejection of the Executory Contract or Unexpired Lease shall be deemed fully satisfied,
released, and discharged, notwithstanding anything in the Schedules or a proof of Claim to the
contrary. All Allowed Claims arising from the rejection of the Executory Contracts and
Unexpired Leases shall be classified as General Unsecured Claims.

                         (d)    Reservation of Rights. Notwithstanding anything to the contrary
herein, all rights of the Debtors, the Reorganized Debtors, and any counterparty to any Executory
Contract or Unexpired Lease are reserved in the event that the Debtors (or the Reorganized
Debtors) amend their decision with respect to the rejection of any Executory Contract or
Unexpired Lease.

               7.2    Assumption of Executory Contracts and Unexpired Leases. Upon the
occurrence of the Effective Date, each Executory Contract or Unexpired Lease (other than
Executory Contracts or Unexpired Leases that (a) have been previously rejected by the Debtors
by Final Order of the Bankruptcy Court or have been rejected by the Debtors by order of the
Bankruptcy Court as of the Effective Date, which order becomes a Final Order after the Effective
Date or (b) are the subject of a motion to reject pending as of the Effective Date) listed on the

                                                39
19-10384-shl     Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05             Main Document
                                           Pg 46 of 70


schedule of “Assumed Executory Contracts and Unexpired Leases” in Exhibit 7.1 of the Plan
shall be assumed, or assumed and assigned, as applicable, and shall vest in and be fully
enforceable by the Reorganized Debtors or their assignee in accordance with its terms, except as
modified by the provisions of this Plan or any order of the Bankruptcy Court authorizing or
providing for its assumption or applicable federal law. With respect to each such Executory
Contract and Unexpired Lease, the Debtors shall have designated a proposed Cure, and the
assumption of such Executory Contracts and Unexpired Leases may be conditioned upon the
disposition of all issues with respect to such Cure. The Confirmation Order shall constitute an
order of the Bankruptcy Court approving any such assumptions pursuant to sections 365(a) and
1123 of the Bankruptcy Code.

                       (a)     Modifications, Amendments, Supplements, Restatements, or
Other Agreements. Unless otherwise provided in the Plan, each Executory Contract or
Unexpired Lease that is assumed shall include all modifications, amendments, supplements,
restatements, or other agreements that in any manner affect such Executory Contract or
Unexpired Lease, and all rights related thereto, if any, including all easements, licenses, permits,
rights, privileges, immunities, options, rights of first refusal, and any other interests, unless any
of the foregoing agreements has been previously rejected or repudiated or is rejected or
repudiated pursuant hereunder.

       Modifications, amendments, supplements, and restatements to prepetition Executory
Contracts and Unexpired Leases that have been executed by the Debtors during the Chapter 11
Cases shall not be deemed to alter the prepetition nature of the Executory Contract or Unexpired
Lease, or the validity, priority, or amount of any Claims that may arise in connection therewith.

                      (b)     Proofs of Claim Based on Executory Contracts or Unexpired
Leases that Have Been Assumed. Any and all proofs of Claims based upon Executory
Contracts or Unexpired Leases that have been assumed in the Chapter 11 Cases, including
hereunder, except proofs of Claims asserting Cure amounts, pursuant to the order approving such
assumption, including the Confirmation Order, shall be deemed disallowed and expunged from
the claims register as of the Effective Date without any further notice to or action, order, or
approval of the Bankruptcy Court.

               7.3     Insurance Policies.

                       (a)    Notwithstanding any other provision in the Plan, all insurance
policies to which any Debtor is a party as of the Effective Date (including any “tail policy”) shall
be deemed to be and treated as executory contracts and shall be assumed, or assumed and
assigned, by the applicable Reorganized Debtors and shall continue as obligations of the Debtors
or Reorganized Debtors in accordance with their respective terms. All other insurance policies
shall vest in the Reorganized Debtors, as applicable.

                        (b)    The Debtors or the Reorganized Debtors, as the case may be, shall
maintain the D&O Insurance and the EPL Policy providing coverage for those insureds currently
covered by such policies for the remaining term of such policies and shall maintain runoff
policies or tail coverage under policies in effect as of the Effective Date for a period of six years
after the Effective Date, to the fullest extent permitted by such provisions, in each case insuring

                                                 40
19-10384-shl     Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05              Main Document
                                           Pg 47 of 70


such parties in respect of any claims, demands, suits, Causes of Action, or proceedings against
such insureds in at least the scope and amount as currently maintained by the Debtors.

               7.4     Cure Procedures and Payments Related to Assumption of Executory
Contracts and Unexpired Leases. With respect to each of the Executory Contracts or
Unexpired Leases listed on the schedule of “Assumed Executory Contracts and Unexpired
Leases,” the Debtors shall have designated a proposed Cure, and the assumption of such
Executory Contract or Unexpired Lease shall be conditioned upon the disposition of all issues
with respect to Cure. Such Cure shall be satisfied by the Debtors or their assignee, if any, by
payment of the Cure in Cash within 30 days following the occurrence of the Effective Date or as
soon as reasonably practicable thereafter, or on such other terms as may be ordered by the
Bankruptcy Court or agreed upon by the parties to the applicable Executory Contract or
Unexpired Lease without any further notice to or action, order, or approval of the Bankruptcy
Court. Any provisions or terms of the Executory Contracts or Unexpired Leases to be assumed
pursuant to the Plan that are, or may be, alleged to be in default, shall be satisfied solely by Cure,
or by an agreed-upon waiver of Cure. The Debtors shall serve a counterparty to an Executory
Contract or Unexpired Lease to be assumed hereunder with evidence of adequate assurance upon
such counterparty’s written request to the Debtors’ counsel.

        If there is a dispute regarding such Cure, the ability of the Reorganized Debtors or any
assignee to provide “adequate assurance of future performance” within the meaning of section
365 of the Bankruptcy Code, or any other matter pertaining to assumption, then payment of Cure
shall occur as soon as reasonably practicable after entry of a Final Order resolving such dispute,
approving such assumption (and, if applicable, assignment), or as may be agreed upon by the
Debtors or the Reorganized Debtors, as applicable, and the counterparty to the Executory
Contract or Unexpired Lease. The Debtors or the Reorganized Debtors, as applicable, reserve
the right either to reject or nullify the assumption of any Executory Contract or Unexpired Lease
after a Final Order determining the Cure or any request for adequate assurance of future
performance required to assume such Executory Contract or Unexpired Lease is made.

        Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or
otherwise shall result in the full release and satisfaction of any Cures, Claims or defaults,
whether monetary or nonmonetary, including defaults of provisions restricting the change in
control or ownership interest composition or other bankruptcy-related defaults, arising under any
assumed Executory Contract or Unexpired Lease at any time prior to the effective date of
assumption.

                        (a)     Cure Notices. No later than seven (7) days prior to the
Confirmation Hearing, and pursuant to the Assumption and Rejection Procedures, the Debtors
shall serve upon counterparties to such Executory Contracts and Unexpired Leases a notice of
the proposed assumption that will (i) list the applicable Cure, if any, (ii) describe the procedures
for filing objections to the proposed assumption or assumption and assignment of the applicable
Executory Contract or Unexpired Lease, (iii) describe the procedures for filing objections to the
proposed Cure of the applicable Executory Contract or Unexpired Lease, and (iv) explain the
process by which related disputes will be resolved by the Bankruptcy Court. If no objection is
timely received, the non-Debtor party to the assumed contract shall be deemed to have consented
to the assumption of the applicable Executory Contract or Unexpired Lease.

                                                 41
19-10384-shl     Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05             Main Document
                                           Pg 48 of 70


                        (b)     Cure Objections. If a proper and timely objection to the Cure
Notice or proposed Cure was filed by the Cure Objection Deadline, the Cure shall be equal to
(i) the amount agreed to between the Debtors or Reorganized Debtors and the applicable
counterparty, or, (ii) to the extent the Debtors or Reorganized Debtors and counterparty do not
reach an agreement regarding any Cure or any other matter related to assumption, the
Bankruptcy Court shall determine the Allowed amount of such Cure and any related issues.
Objections, if any, to the proposed assumption and/or Cure must be in writing, filed with the
Bankruptcy Court and served so that they are actually received by the Cure Objection Deadline.

                       (c)     Hearing with Respect to Objections. If an objection to the
proposed assumption and/or to the Cure is timely filed and received in accordance with the
procedures set forth in Article 7.4(b), and the parties do not reach a consensual resolution of such
objection, a hearing with respect to such objection shall be held at such time scheduled by the
Bankruptcy Court or the Debtors or Reorganized Debtors. Objections to the proposed Cure
amount or assumption of an Executory Contract or Unexpired Lease will not be treated as
objections to Confirmation of the Plan.

                       (d)    Reservation of Rights. Notwithstanding anything to the contrary
herein, prior to the Effective Date, the Debtors may amend their decision with respect to the
assumption of any Executory Contract or Unexpired Lease and provide a new notice amending
the information provided in the applicable notice, subject to the Assumption and Rejection
Procedures, and shall serve such notice on the applicable counterparty; provided, that
notwithstanding anything to the contrary herein, all rights of the Debtors, the Reorganized
Debtors, and any counterparty to any Executory Contract or Unexpired Lease are reserved with
respect to any such amended decision or notice. In the case of an Executory Contract or
Unexpired Lease designated for assumption that is the subject of a Cure objection which has not
been resolved prior to the Effective Date, the Debtors may designate such Executory Contract or
Unexpired Lease for rejection at any time prior to the payment of the Cure.

              7.5    Contracts, Intercompany Contracts, and Leases Entered into After
the Petition Date. Contracts and leases entered into after the Petition Date by the Debtors, and
any Executory Contracts and Unexpired Leases assumed by the Debtors, may be performed by
the Reorganized Debtors in the ordinary course of business and in accordance with the terms of
such Executory Contract or Unexpired Lease.

                7.6      General Reservation of Rights. Neither the exclusion nor inclusion of
any contract or lease on Exhibit 7.1 of the Plan, in the Plan Supplement, nor anything contained
in the Plan, shall constitute an admission by the Debtors that any such contract or lease is in fact
an Executory Contract or Unexpired Lease or that the Reorganized Debtors, or any of its
Affiliates, has any liability thereunder. If there is a dispute regarding whether a contract or lease
is or was executory or unexpired at the time of assumption, the Debtors or the Reorganized
Debtors, as applicable, shall have 45 days following entry of a Final Order resolving such
dispute to alter its treatment of such contract or lease.




                                                 42
19-10384-shl    Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05            Main Document
                                          Pg 49 of 70


                                        ARTICLE VIII

       PROCEDURES FOR RESOLVING DISPUTED CLAIMS AND INTERESTS

               8.1    Determination Of Claims and Interests. After the Effective Date, the
Reorganized Debtors shall have and retain any and all rights and defenses the Debtors had with
respect to any Claim or Interest immediately prior to the Effective Date, including the Causes of
Action retained pursuant to Article 6.19, except with respect to any Claim or Interest deemed
Allowed under the Plan or pursuant to an order of the Bankruptcy Court.

         Except as expressly provided in the Plan or in any order entered in the Chapter 11 Cases
prior to the Effective Date (including the Confirmation Order), no Claim or Interest shall become
an Allowed Claim or Interest unless and until such Claim or Interest is deemed Allowed or the
Bankruptcy Court has entered a Final Order, including the Confirmation Order, in the Chapter 11
Cases allowing such Claim or Interest. All settled claims approved prior to the Effective Date
pursuant to a Final Order of the Bankruptcy Court, pursuant to Bankruptcy Rule 9019 or
otherwise shall be binding on all parties. For the avoidance of doubt, any Claim determined and
liquidated pursuant to (a) an order of the Bankruptcy Court or (b) applicable non-bankruptcy law
(which determination has not been stayed, reversed, or amended and as to which determination
or any revision, modification, or amendment thereof) the time to appeal or seek review or
rehearing has expired and as to which no appeal or petition for review or rehearing was filed or,
if filed, remains pending) shall be deemed an Allowed Claim in such liquidated amount and
satisfied in accordance with this Plan.

        Nothing contained in this Article 8.1 shall constitute or be deemed a waiver of any claim,
right, or Cause of Action that the Debtors or the Reorganized Debtors may have against any
Entity in connection with or arising out of any Claim, including, without limitation, any rights
under section 157(b) of title 28 of the United States Code.

               8.2    GUC Administrator. If Class 6C votes to accept the Plan, the Creditors’
Committee shall appoint, as of the Effective Date, a GUC Administrator with duties limited to
(a) General Unsecured Claims reconciliation, allowance, and settlement, (b) making distributions
to the Holders of Allowed General Unsecured Claims as provided herein, and (c) appearing
before and being heard by the Bankruptcy Court and other courts of competent jurisdiction in
connection with the foregoing duties. The GUC Administrator may employ, without further
order of the Bankruptcy Court, professionals to assist in carrying out the duties as limited above,
including any professionals retained in these Chapter 11 Cases, and the GUC Administrator
Costs, including reasonable professional fees, shall be reimbursed solely from the General
Unsecured Claims Cash Pool in the ordinary course without further order of the Bankruptcy
Court. Under no circumstances shall the Debtors or Reorganized Debtors have any liability for
the GUC Administrator Costs.

        Upon the resolution of all disputed General Unsecured Claims, the GUC Administrator
shall be released and discharged of and from further authority, duties, responsibilities and
obligations relating to and arising from and in connection with the Chapter 11 Cases.



                                                43
19-10384-shl    Doc 252      Filed 03/25/19 Entered 03/25/19 20:01:05            Main Document
                                           Pg 50 of 70


                8.3      Claims Administration Responsibility. After the Effective Date, the
Reorganized Debtors shall retain responsibility for (a) administering, disputing, objecting to,
compromising, or otherwise resolving all Claims against, and Interests in, the Debtors other than
General Unsecured Claims, including, without limitation, (i) filing, withdrawing, or litigating to
judgment objections to Claims or Interests (other than General Unsecured Claims), (ii) settling or
compromising any Disputed Claim without any further notice to or action, order, or approval by
the Bankruptcy Court (other than General Unsecured Claims), and (iii) administering and
adjusting the claims register to reflect any such settlements or compromises without any further
notice to or action, order, or approval by the Bankruptcy Court (other than General Unsecured
Claims), and (b) making distributions (if any) with respect to all Claims and Interests (other than
General Unsecured Claims). With respect to General Unsecured Claims, the GUC Administrator
shall exercise all of the responsibilities set forth in this Article 8.3.

                8.4     Objections to Claims. Unless otherwise extended by the Bankruptcy
Court, any objections to Claims (other than Administrative Claims) shall be served and filed on
or before the Claims Objection Deadline (or such later date as may be established by the
Bankruptcy Court upon request of the Reorganized Debtors or the GUC Administrator without
further notice to parties-in-interest). Notwithstanding any authority to the contrary, an objection
to a Claim shall be deemed properly served on the Holder of the Claim if the Debtors or the
Reorganized Debtors or the GUC Administrator effect service in any of the following manners:
(a) in accordance with Federal Rule of Civil Procedure 4, as modified and made applicable by
Bankruptcy Rule 7004, (b) to the extent counsel for a Holder of a Claim or Interest is unknown,
by first class mail, postage prepaid, on the signatory on the proof of Claim or other representative
identified on the proof of Claim or any attachment thereto (or at the last known addresses of such
Holders of Claims if no proof of Claim is filed or if the Debtors have been notified in writing of
a change of address), or (c) by first class mail, postage prepaid, on any counsel that has appeared
on behalf of the Holder of the Claim in the Chapter 11 Cases and has not withdrawn such
appearance.

               8.5    Disallowance of Claims. Nothing herein shall in any way alter, impair, or
abridge the legal effect of the Bar Date Order, or the rights of the Debtors, the Reorganized
Debtors, the Creditors’ Committee before the Effective Date, the GUC Administrator after the
Effective Date, or other parties-in-interest to object to Claims on the grounds that they are time
barred or otherwise subject to disallowance or modification.

        All Claims of any Entity from which property is sought by the Debtors under section 542,
543, 550, or 553 of the Bankruptcy Code or that the Debtors or the Reorganized Debtors allege is
a transferee of a transfer that is avoidable under section 522(f), 522(h), 544, 545, 547, 548, 549,
or 724(a) of the Bankruptcy Code shall be disallowed if (a) the Entity, on the one hand, and the
Debtors or the Reorganized Debtors, on the other hand, agree or the Bankruptcy Court has
determined by Final Order that such Entity or transferee is liable to turn over any property or
monies under any of the aforementioned sections of the Bankruptcy Code and (b) such Entity
or transferee has failed to turn over such property by the date set forth in such agreement or Final
Order.

             8.6    Estimation of Claims. Before the Effective Date, the Debtors or the
Reorganized Debtors, as applicable, may (but are not required to) at any time request that the

                                                44
19-10384-shl     Doc 252      Filed 03/25/19 Entered 03/25/19 20:01:05             Main Document
                                            Pg 51 of 70


Bankruptcy Court estimate a Disputed Claim pursuant to section 502(c) of the Bankruptcy Code
for any purpose permitted thereunder, regardless of whether any party previously has objected to
such Claim or Interest, and the Bankruptcy Court shall retain jurisdiction to estimate any
Disputed Claim, including during the litigation of any objection to any Disputed Claim or during
the pendency of any appeal relating to such objection. In the event that the Bankruptcy Court
has entered a Final Order estimating any contingent or unliquidated Claim for the express
purpose of determining what amount of such Claim shall be allowed for purposes of distributions
pursuant to section 502(c), that estimated amount shall, unless otherwise ordered by the
Bankruptcy Court or agreed between the relevant parties, constitute a maximum limitation on the
Allowed amount of such Claim for all purposes under the Plan (including for purposes of
distributions), and the Reorganized Debtors or the GUC Administrator may, to the extent
applicable, elect to pursue any supplemental proceedings to object to any ultimate distribution on
such Claim. All of the objection, estimation, settlement, and resolution procedures set forth in
the Plan are cumulative and not necessarily exclusive of one another. Disputed Claims may be
estimated and subsequently compromised, settled, withdrawn, or resolved by any mechanism
approved by the Bankruptcy Court.

                8.7     No Interest on Claims. Unless otherwise specifically provided for in this
Plan or as otherwise required by section 506(b) of the Bankruptcy Code, postpetition interest
shall not accrue or be paid on Claims or Interests, and no Holder of a Claim or Interest shall be
entitled to interest accruing on or after the Petition Date on any Claim or Interest. Additionally,
and without limiting the foregoing, unless otherwise specifically provided for in this Plan or as
otherwise required by section 506(b) of the Bankruptcy Code, interest shall not accrue or be paid
on any Disputed Claim in respect of the period from the Effective Date to the date a final
distribution is made, when and if such Disputed Claim becomes an Allowed Claim.

              8.8   Amendments to Claims. On or after the Bar Date, except as otherwise
provided herein, a Claim may not be filed or amended without the authorization of the
Bankruptcy Court or the Reorganized Debtors, and, to the extent such authorization is not
received, any such new or amended Claim filed shall be deemed Disallowed in full and
expunged without any further notice to or action, order, or approval of the Bankruptcy Court.

                                           ARTICLE IX

                       PROVISIONS GOVERNING DISTRIBUTIONS

                9.1    Time of Distributions. Except as otherwise provided for herein or
ordered by the Bankruptcy Court, distributions under this Plan shall be made on the later of
(a) the Distribution Date or (b) on the first Periodic Distribution Date that is at least 30 days after
a Claim becomes Allowed; provided, however, that the Reorganized Debtors may, in their sole
discretion, make one-time distributions on a date that is not a Periodic Distribution Date.

               9.2     Distribution Agent. The Distribution Agent shall make all distributions
required under this Plan except as set forth in Article 9.4 below.

               9.3     Currency. Except as otherwise provided in the Plan or Bankruptcy Court
order, as of the Effective Date, any Claim asserted in currency other than U.S. dollars shall be

                                                  45
19-10384-shl     Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05             Main Document
                                           Pg 52 of 70


automatically deemed converted to the equivalent U.S. dollar value using the exchange rate as of
Effective Date at 4:00 p.m. prevailing Eastern Time, mid-range spot rate of exchange for the
applicable currency as published in the next The Wall Street Journal, National Edition following
the Effective Date.

               9.4      Distributions on Account of Claims Allowed as of the Effective Date.
Except as otherwise provided in the Plan, a Final Order, or as otherwise agreed to by the relevant
parties, the Distribution Agent shall make initial distributions under the Plan on account of
Allowed Claims on the Distribution Date, subject to the Reorganized Debtors’ rights to object to
Claims that have not been Allowed; provided, however, that (i) Allowed Administrative Claims
with respect to liabilities incurred by the Debtors in the ordinary course of business during the
Chapter 11 Cases or assumed by the Debtors prior to the Effective Date shall be paid or
performed in the ordinary course of business in accordance with the terms and conditions of any
controlling agreements, course of dealing, course of business, or industry practice, and (ii)
Allowed Priority Tax Claims shall be paid in full in Cash on the Distribution Date or in
installment payments over a period not more than five years after the Petition Date pursuant to
section 1129(a)(c) of the Bankruptcy Code. To the extent any Allowed Priority Tax Claim is not
due and owing on the Effective Date, such Claim shall be paid in full in Cash in accordance with
the terms of any agreement between the Debtors and the Holder of such Claim, or as may be due
and payable under applicable non-bankruptcy law or in the ordinary course of business.

               9.5     Distributions on Account of Claims Allowed After the Effective Date.

                        (a)   No Distributions Pending Allowance.               No payments or
distributions shall be made with respect to all or any portion of a Disputed Claim unless and until
all objections to such Disputed Claim have been settled or withdrawn or have been determined
by a Final Order of the Bankruptcy Court, and the Disputed Claim has become an Allowed
Claim. All objections to Claims must be filed on or before the Claims Objection Deadline.

                       (b)    Disputed Unsecured Claims Reserve.                The Debtors or
Reorganized Debtors, as applicable, shall withhold and retain from the General Unsecured
Claims Cash Pool Account (i) an amount sufficient to pay Holders of Disputed General
Unsecured Claims the amount such Holders would be entitled to receive under the Plan if such
Claims were to become Allowed Claims, (ii) such lesser amount as estimated or otherwise
ordered by the Bankruptcy Court, or (iii) such lesser amount as agreed to between the GUC
Administrator and the Holders thereof (such account, the “Disputed Unsecured Claims
Reserve”). As disputed claims are resolved pursuant to Article IX hereof, the GUC
Administrator shall direct the Distribution Agent to make distributions on account of such
Disputed Claims as if such Disputed Claims were Allowed Claims as of the Effective Date.
Such distributions shall be made on the first Periodic Distribution Date that is at least thirty (30)
days after the date on which such a Disputed Claim becomes an Allowed Claim.

                       (c)    Tax Treatment of Disputed Unsecured Claims Reserve. All
parties to the Plan shall (i) treat the Disputed Unsecured Claims Reserve as a “disputed
ownership fund” governed by Treas. Reg. § 1.468B-9 for U.S. federal income tax purposes, and
(ii) to the extent permitted by applicable law, report consistently with the foregoing for all
federal, state, and local income tax purposes. All taxes imposed on assets or income of such

                                                 46
19-10384-shl    Doc 252      Filed 03/25/19 Entered 03/25/19 20:01:05            Main Document
                                           Pg 53 of 70


Disputed Unsecured Claims Reserve will be payable from the assets of the Disputed Unsecured
Claims Reserve.

                       (d)      Request for Expedited Determination of Taxes.           The
Reorganized Debtors shall have the right to request an expedited determination under section
505(b) of the Bankruptcy Code with respect to tax returns of the Disputed Unsecured Claims
Reserve filed or to be filed for any and all taxable periods of such reserve.

                       (e)    Distributions After Allowance. Payments and distributions to
each respective Holder of a Claim on account of a Disputed Claim, to the extent that it ultimately
becomes an Allowed Claim, shall be made in accordance with provisions of this Plan that govern
distributions to such Holder of a Claim. On the first Periodic Distribution Date that is at least 30
days following the date when a Disputed Claim becomes an Allowed Claim, the Distribution
Agent shall distribute to the Holder of such Allowed Claim the distribution that such Holder is
entitled under the Plan as of the Effective Date, without any interest to be paid on account of
such Claim or Interest unless required under applicable bankruptcy law; provided, however, (i)
Disputed Claims that are Administrative Claims with respect to liabilities incurred by the
Debtors in the ordinary course of business during the Chapter 11 Cases or assumed by the
Debtors on or before the Effective Date that become Allowed after the Effective Date shall be
paid or performed in the ordinary course of business in accordance with the terms and conditions
of any controlling agreements, course of dealing, course of business, or industry practice, and (ii)
Disputed Claims that are Allowed Priority Tax Claims after the Effective Date shall be paid in
full in Cash on the Periodic Distribution Date that is at least 30 days after the Disputed Claim
becomes an Allowed Claim or over a five-year period as provided in section 1129(a)(9)(C) of the
Bankruptcy Code with annual interest provided by applicable non-bankruptcy law.

                       (f)     Special Rules for Distributions to Holders of Disputed Claims.
Notwithstanding any provision otherwise in the Plan and except as otherwise agreed by the
relevant parties no partial payments and no partial distributions shall be made with respect to a
Disputed Claim until all such disputes in connection with such Disputed Claim have been
resolved by settlement or Final Order. All distributions made pursuant to the Plan on account of
a Disputed Claim that is deemed an Allowed Claim by the Bankruptcy Court shall be made
together with any dividends, payments, or other distributions made on account of, as well as any
obligations arising from, the distributed property as if such Allowed Claim had been an Allowed
Claim on the dates distributions were previously made to Holders of Allowed Claims included in
the applicable Class; provided, however, that no interest shall be paid on account to such
Allowed Claims unless required under applicable bankruptcy law or this Plan.

               9.6     Delivery Of Distributions.

                        (a)     Record Date for Distributions. On the Distribution Record Date,
the claims register shall be closed and the Distribution Agent shall be authorized and entitled to
recognize only those record Holders listed on the claims register as of the close of business on
the Distribution Record Date. Notwithstanding the foregoing, if a Claim or Interest is transferred
less than 20 days before the Distribution Record Date, the Distribution Agent shall make
distributions to the transferee only to the extent practicable and in any event only if the relevant


                                                47
19-10384-shl     Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05              Main Document
                                           Pg 54 of 70


transfer form contains an unconditional and explicit certification and waiver of any objection to
the transfer by the transferor.

                         (b)   Allowed Claims. Distributions to Holders of Allowed Claims
shall be made by the Distribution Agent (i) at the addresses set forth on the proofs of claim filed
by such Holders of Claims (or at the last known addresses of such Holders of Claims if no proof
of Claim is filed or if the Debtors have been notified in writing of a change of address), (ii) at the
addresses set forth in any written notices of address changes delivered to the Distribution Agent
after the date of any related proof of Claim, or (iii) at the addresses reflected in the Schedules if
no proof of Claim has been filed and the Distribution Agent has not received a written notice of a
change of address. The Debtors, the Reorganized Debtors, GUC Administrator, and the
Distribution Agent, as applicable, shall not incur any liability whatsoever on account of any
distributions under the Plan.

                        (c)     Undeliverable Distributions. If any distribution to a Holder of a
Claim is returned as undeliverable, no further distributions to such Holder of such Claim shall be
made unless and until the Distribution Agent is notified of then-current address of such Holder of
the Claim, at which time all missed distributions shall be made to such Holder of the Claim
without interest, dividends, or accruals of any kind on the next Periodic Distribution Date.
Amounts in respect of undeliverable distributions shall be returned to the Reorganized Debtors
until such distributions are claimed.

                        (d)   Reversion. Any distribution under the Plan that is an Unclaimed
Distribution for a period of six months after such distribution shall be deemed unclaimed
property under section 347(b) of the Bankruptcy Code and such Unclaimed Distribution shall
revert to and vest in the Reorganized Debtors free of any restrictions thereon. Upon vesting, the
Claim of any Holder or successor to such Holder with respect to such property shall be
cancelled, discharged and forever barred, notwithstanding federal or state escheat, abandoned, or
unclaimed property laws to the contrary.

                       (e)     De Minimis Distributions. Notwithstanding any other provision
of the Plan to the contrary, the Reorganized Debtors and the Distribution Agent shall not be
required to make a distribution on account of an Allowed Claim if (i) the aggregate amount of all
distributions authorized to be made on the Periodic Distribution Date in question is or has a value
less than $[10,000]; provided that the Reorganized Debtors shall make, or cause to be made, a
distribution on a Periodic Distribution Date of less than $[10,000] if the Debtors expect that such
Periodic Distribution Date shall be the final Periodic Distribution Date; or (ii) the amount to be
distributed to the specific Holder of the Allowed Claim on the particular Periodic Distribution
Date does not both (x) constitute a final distribution to such Holder and (y) have a value of at
least $50.00.

                       (f)    Fractional Distributions. Notwithstanding any other provision of
the Plan to the contrary, the Reorganized Debtors, and the Distribution Agent shall not be
required to make partial distributions or distributions of fractional shares of New Pioneer Units
or distributions or payments of fractions of dollars. Whenever any payment or distribution of a
fractional share of New Pioneer Units under the Plan would otherwise be called for, such fraction
shall be deemed zero. Whenever any payment of Cash of a fraction of a dollar pursuant to the

                                                 48
19-10384-shl    Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05            Main Document
                                          Pg 55 of 70


Plan would otherwise be required, the actual payment shall reflect a rounding of such fraction to
the nearest whole dollar (up or down), with half dollars or less being rounded down.

                9.7    Accrual of Dividends and Other Rights. For purposes of determining
the accrual of dividends or other rights after the Effective Date, New Pioneer Units shall be
deemed distributed as of the Effective Date regardless of the date on which they are actually
issued, dated, authenticated, or distributed; provided, however, the Reorganized Debtors shall not
pay any such dividends or distribute such other rights, if any, until after distributions of New
Pioneer Units actually take place.

                9.8     Compliance Matters. In connection with the Plan and all instruments
issued in connection therewith and distributions thereunder, to the extent applicable, the Debtors,
Reorganized Debtors, and the Distribution Agent shall comply with all tax withholding and
reporting requirements imposed on them by any Governmental Unit, and all distributions
pursuant to the Plan shall be subject to such withholding and reporting requirements.
Notwithstanding any provision in the Plan to the contrary, the Reorganized Debtors and the
Distribution Agent shall be authorized to take all actions necessary or appropriate to comply with
such withholding and reporting requirements, including liquidating a portion of the distribution
to be made under the Plan to generate sufficient funds to pay applicable withholding taxes,
withholding distributions pending receipt of information necessary to facilitate such
distributions, or establishing any other mechanisms they believe are reasonable and appropriate.
The Reorganized Debtors reserve the right to allocate all distributions made under the Plan in
compliance with all applicable wage garnishments, alimony, child support, and other spousal
awards, Liens, and encumbrances.

               9.9    Claims Paid or Payable by Third Parties.

                       (a)     Claims Paid by Third Parties. The Claims and Solicitation
Agent shall reduce in full a Claim to the extent that the Holder of such Claim receives payment
in full on account of such Claim from a party that is not the Debtors or the Reorganized Debtors.
To the extent a Holder of a Claim receives a distribution on account of such Claim and receives
payment from a party that is not the Debtors or the Reorganized Debtors on account of such
Claim, such Holder shall, within two weeks of receipt thereof, repay or return the distribution to
the Reorganized Debtors, to the extent the Holder’s total recovery on account of such Claim
from the third party and under the Plan exceeds the amount of such Claim as of the date of any
such distribution under the Plan.

                      (b)     Claims Payable by Insurers. No distributions under the Plan
shall be made on account of an Allowed Claim that is payable pursuant to one of the Debtors’
insurance policies until the Holder of such Allowed Claim has exhausted all remedies with
respect to such insurance policy. To the extent that one or more of the Debtors’ insurers agrees
to satisfy a Claim or otherwise settle an insured Claim, then immediately upon such insurers’
payment, the applicable portion of such Claim may be expunged without a Claim objection
having to be filed and without any further notice to or action, order, or approval of the
Bankruptcy Court.



                                                49
19-10384-shl    Doc 252      Filed 03/25/19 Entered 03/25/19 20:01:05            Main Document
                                           Pg 56 of 70


                       (c)     Applicability of Insurance Contracts. Except as otherwise
provided in the Plan, distributions to Holders of Allowed Claims shall be in accordance with the
provisions of any applicable Insurance Contracts. Nothing contained in the Plan shall constitute
or be deemed a waiver of any Cause of Action that the Debtors or any Entity may hold against
any other Entity, including insurers under any of the Insurance Contracts, nor shall anything
contained herein constitute or be deemed a waiver by such insurers of any defenses, including
coverage defenses, held by such insurers.

                9.10 Setoffs. Except as otherwise expressly provided for in the Plan, the
Reorganized Debtors pursuant to the Bankruptcy Code (including section 553 of the Bankruptcy
Code), applicable non-bankruptcy law, or as may be agreed to by the Holder of a Claim, may set
off against any Allowed Claim and the distributions to be made pursuant to the Plan on account
of such Allowed Claim (before any distribution is made on account of such Allowed Claim), any
Claims, rights, and Causes of Action of any nature that the Debtors or the Reorganized Debtors,
as applicable, may hold against the Holder of such Allowed Claim, to the extent such Claims,
rights, or Causes of Action against such Holder have not been otherwise compromised or settled
on or prior to the Effective Date (whether pursuant to the Plan or otherwise); provided, however,
that neither the failure to effect such a setoff nor the allowance of any Claim pursuant to the Plan
shall constitute a waiver or release by the Reorganized Debtors of any such Claims, rights, and
Causes of Action that the Reorganized Debtors may possess against such Holder. In no event
shall any Holder of Claims be entitled to set off any Claim against any Claim, right, or Cause of
Action of the Debtors or the Reorganized Debtors, as applicable, unless such Holder has filed a
motion with the Bankruptcy Court requesting the authority to perform such setoff on or before
the Confirmation Date, and notwithstanding any indication in any proof of Claim or otherwise
that such Holder asserts, has, or intends to preserve any right of setoff pursuant to section 553 or
otherwise.

               9.11 Allocation of Plan Distributions Between Principal and Interest. To
the extent that any Allowed Claim entitled to a distribution under this Plan is composed of
indebtedness and accrued but unpaid interest thereon, such distribution shall, to the extent
permitted by applicable law, be allocated for federal income tax purposes to the principal amount
of the Claim first and then, to the extent the consideration exceeds the principal amount of the
Claim, to the portion of such Claim representing accrued but unpaid interest.

                                          ARTICLE X

                 EFFECT OF THE PLAN ON CLAIMS AND INTERESTS

               10.1 Vesting of Assets. Except as otherwise explicitly provided in this Plan,
on the Effective Date, all property comprising the Estates (including Causes of Action) shall vest
in the Reorganized Debtors which, unless otherwise indicated in the Plan, as Debtors, owned
such property or interest in property as of the Effective Date, free and clear of all Claims, Liens,
charges, encumbrances, rights, and Interests. As of and following the Effective Date, the
Reorganized Debtors may operate their business and use, acquire, and dispose of property
(subject to applicable law) and settle and compromise Claims, Interests, or Causes of Action
without supervision of the Bankruptcy Court, free of any restrictions of the Bankruptcy Code or


                                                50
19-10384-shl    Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05           Main Document
                                          Pg 57 of 70


Bankruptcy Rules, other than those restrictions expressly imposed by this Plan or the
Confirmation Order.

              10.2 Discharge of the Debtors. Except as otherwise specifically provided in
section 1141(d) of the Bankruptcy Code, this Plan or the Confirmation Order, and effective
as of the Confirmation Date: (a) the distributions and rights that are provided in this Plan,
if any, and the treatment of all Claims and Interests shall be in exchange for and in
complete satisfaction, discharge, and release of all Claims and Causes of Action, whether
known or unknown, including any interest accrued on such Claims from and after the
Petition Date, against, liabilities of, Liens on, obligations of, rights against, and Interests in
the Debtors or any of their assets or properties, regardless of whether any property shall
have been distributed or retained pursuant to this Plan on account of such Claims, rights,
and Interests, including, but not limited to, Claims and Interests that arose before the
Effective Date and all debts of the kind specified in sections 502(g), 502(h), or 502(i) of the
Bankruptcy Code, in each case whether or not (i) a proof of claim or interest based upon
such Claim, debt, right, or Interest is filed or deemed filed under section 501 of the
Bankruptcy Code, (ii) a Claim or Interest based upon such Claim, debt, right, or Interest is
allowed under section 502 of the Bankruptcy Code, or (iii) the Holder of such a Claim,
right, or Interest accepted this Plan; (b) the Plan shall bind all Holders of Claims and
Interests notwithstanding whether any such Holders failed to vote to accept or reject the
Plan or voted to reject the Plan; (c) all Claims and Interests shall be satisfied, discharged,
and released in full, and the Debtors’ liability with respect thereto shall be extinguished
completely, including any liability of the kind specified under section 502(g) of the
Bankruptcy Code; and (d) all Entities shall be precluded from asserting against the
Debtors, the Estates, the Reorganized Debtors, their successors and assigns, and their
assets and properties any other Claims or Interests based upon any documents,
instruments, or any act or omission, transaction, or other activity of any kind or nature
that occurred prior to the Effective Date. The Confirmation Order shall be a judicial
determination of the discharge of all Claims against and Interests in the Debtors, subject to
the occurrence of the Effective Date.

               10.3 Release by Debtors. As of the Effective Date, except for the rights
that remain in effect from and after the Effective Date to enforce the Plan and the Plan
Transaction Documents, for good and valuable consideration, the adequacy of which is
hereby confirmed, including, without limitation, the service of the Released Parties to
facilitate the reorganization of the Debtors and the implementation of the Debtors’
restructuring, and except as otherwise provided in the Plan or in the Confirmation Order,
the Released Parties will be deemed forever released and discharged, to the maximum
extent permitted by law, by the Debtors, the Reorganized Debtors, the Estates, all Affiliates
or subsidiaries managed or controlled by the foregoing, and each of their predecessors,
successors and assigns, subsidiaries, and Affiliates, and all of their respective current and
former officers, directors, principals, shareholders, members, partners, employees, agents,
advisory board members, financial advisors, attorneys, accountants, investment bankers,
consultants, representatives, and other professionals, and such persons’ respective heirs,
executors, estates, servants and nominees, from any and all Claims, Interests or causes of
action whatsoever, including any derivative Claims asserted or that could have been
asserted on behalf of the Debtors, whether known or unknown, foreseen or unforeseen,

                                               51
19-10384-shl   Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05         Main Document
                                         Pg 58 of 70


existing or hereafter arising, in law, equity or otherwise, that such Entity would have been
legally entitled to assert (whether individually or collectively), based on, relating to, or
arising from, in whole or in part, directly or indirectly, in any manner whatsoever, the
Debtors, the assets, liabilities, operations or business of the Debtors, the Debtors’
restructuring, the Chapter 11 Cases, the purchase, sale, or rescission of the purchase or
sale of any security of the Debtors or the Reorganized Debtors, the subject matter of, or the
transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the
business, financial or contractual arrangements between the Debtors and any Released
Party, the restructuring of Claims and Interests before or during the Chapter 11 Cases, the
negotiation, formulation, preparation, or consummation of the DIP Facility Order, the
Plan, the RSA (including the term sheet attached thereto), the Plan Transaction
Documents, or any related agreements, instruments, or other documents, or the solicitation
of votes with respect to the Plan, in all cases based upon any act or omission, transaction,
agreement, event or other occurrence taking place on or before the Effective Date;
provided that nothing in this Plan shall be construed to release the Released Parties from
willful misconduct or intentional fraud as determined by a Final Order.

               10.4 Release by Holders of Claims. Effective as of the Effective Date, the
Releasing Parties conclusively, absolutely, unconditionally, irrevocably, and forever
discharge and release (and each entity so discharged and released shall be deemed
discharged and released by the Releasing Parties) the Released Parties and their respective
property from any and all Claims, Interests, obligations, rights, suits, damages, causes of
action, remedies, and liabilities whatsoever, including any derivative claims asserted or
assertable on behalf of the Debtors, the Reorganized Debtors, or their Estates, any Claims
or causes of action asserted on behalf of any Holder of any Claim or any Interest or that
any Holder of a Claim or an Interest would have been legally entitled to assert, whether
known or unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity,
or otherwise, that such Releasing Party would have been legally entitled to assert in their
own right (whether individually or collectively), based on or relating to, or in any manner
arising prior to the Effective Date from, in whole or in part, directly or indirectly, in any
manner whatsoever, the Debtors, the assets, liabilities, operations or business of the
Debtors, the Debtors’ restructuring, the Chapter 11 Cases, or the RSA, the purchase, sale,
transfer or rescission of any debt, security, asset, right, or interest of the Debtors or the
Reorganized Debtors, the subject matter of, or the transactions or events giving rise to, any
Claim against or Interest in the Debtors that is treated in the Plan, the business, financial
or contractual arrangements between the Debtors and any Released Party, the negotiation,
formulation, or preparation of the Plan Transaction Documents or related agreements,
instruments or other documents, including the DIP Facility Order, this Plan, the RSA
(including the term sheet attached thereto), or any related agreements or instruments, or
the solicitation of votes with respect to the Plan, or any other act or omission, transaction,
agreement, event, or other occurrence taking place on or before the Effective Date;
provided that nothing in the Plan shall be construed to release the Released Parties from
any claims based upon willful misconduct or intentional fraud as determined by a Final
Order.

             10.5 Exculpation and Limitation of Liability. To the maximum extent
permitted by applicable law, no Released Party will have or incur, and each Released Party

                                             52
19-10384-shl    Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05           Main Document
                                          Pg 59 of 70


is hereby released and exculpated from, any Claim, obligation, suit, judgment, damage,
demand, debt, right, cause of action, remedy, loss, and liability for any act, omission, or
other Claim in connection with, relating to, or arising out of: the Debtors’ restructuring;
the Chapter 11 Cases; the filing of the Chapter 11 Cases; formulation, preparation,
dissemination, negotiation, pursuit, or filing of the Disclosure Statement, the RSA, the Plan
Transaction Documents, or any contract, instrument, release, or other agreement or
document created or entered into in connection with the Disclosure Statement or Plan, or
the solicitation of votes for, or confirmation of, the Plan; the DIP Credit Agreement; the
pursuit of Confirmation; the funding or pursuit of consummation of the Plan; the
occurrence of the Effective Date; the administration, consummation, and implementation
of the Plan or the property to be distributed under the Plan, including the issuance of
securities under or in connection with the Plan and the distribution of property under the
Plan and any other transaction contemplated by the Plan or Disclosure Statement or in
furtherance thereof; the settlement of Claims or renegotiation of Executory Contracts or
Unexpired Leases; or the transactions in furtherance of or contemplated by any of the
foregoing; except for intentional fraud or willful misconduct, as determined by a Final
Order. This exculpation will be in addition to, and not in limitation of, all other releases,
indemnities, exculpations and any other applicable law or rules protecting such Released
Parties from liability.

                10.6 Exclusions and Limitations on Exculpation, Indemnification, and
Releases. Notwithstanding anything in this Plan to the contrary, no provision of this Plan or the
Confirmation Order, including, without limitation, any exculpation, indemnification, or release
provision, shall modify, release, or otherwise limit the liability of any Entity not specifically
released or exculpated hereunder or pursuant to an order of the Bankruptcy Court, including,
without limitation, any Entity who is a co-obligor or joint tortfeasor of a Released Party or who
is otherwise liable under theories of vicarious or other derivative liability.

                10.7 Injunction. Upon entry of the Confirmation Order, all Holders of
Claims and Interests and other parties in interest, along with their respective present or
former employees, agents, officers, directors, principals, and affiliates, shall be enjoined
from taking any actions to interfere with the implementation or consummation of the Plan
in relation to any Claim extinguished, discharged, or released pursuant to the Plan.

Except as expressly provided in the Plan, the Confirmation Order, or a separate order of
the Bankruptcy Court or as agreed to by the Debtors and a Holder of a Claim against or
Interest in the Company, all Entities that have held, hold, or may hold Claims against or
Interests in the Company whether or not such parties have voted to accept or reject the
Plan and other parties in interest, along with their respective present or former employees,
agents, officers, directors, principals, and affiliates are permanently enjoined, on and after
the Effective Date, solely with respect to any Claims, Interests, and causes of action that
will be or are extinguished, discharged, or released pursuant to the Plan from
(i) commencing, conducting, or continuing in any manner, directly or indirectly, any suit,
action, or other proceeding of any kind (including, without limitation, any proceeding in a
judicial, arbitral, administrative or other forum) against or affecting the Released Parties
or the property of any of the Released Parties, (ii) enforcing, levying, attaching (including,
without limitation, any prejudgment attachment), collecting, or otherwise recovering by

                                               53
19-10384-shl    Doc 252      Filed 03/25/19 Entered 03/25/19 20:01:05            Main Document
                                           Pg 60 of 70


any manner or means, whether directly or indirectly, any judgment, award, decree, or
order against the Released Parties or the property of any of the Released Parties, (iii)
creating, perfecting, or otherwise enforcing in any manner, directly or indirectly, any
encumbrance of any kind against the Released Parties or the property of any of the
Released Parties, (iv) asserting any right of setoff, directly or indirectly, against any
obligation due the Released Parties or the property of any of the Released Parties, except as
contemplated or Allowed by the Plan; and (v) acting or proceeding in any manner, in any
place whatsoever, that does not conform to or comply with the provisions of the Plan.

The injunctions in the Plan shall extend to any successors of the Debtors and the
Reorganized Debtors and their respective property and interests in property.

               10.8    Subordination Rights.

                        (a)     Except as otherwise provided in the Plan (including in Article
10.8(c) below), the allowance, classification, and treatment of all Allowed Claims and the
respective distributions and treatments under the Plan take into account and conform to the
relative priority and rights of the Claims in each Class in connection with any contractual, legal,
and equitable subordination rights relating thereto, whether arising under general principles of
equitable subordination, section 510(b) of the Bankruptcy Code, or otherwise and all Claims and
all rights and claims between or among Holders of Claims relating in any manner whatsoever to
distributions on account of Claims or Interests, based upon any claimed subordination rights,
whether asserted or unasserted, legal or equitable, shall be deemed satisfied by the distributions
under the Plan to Holders of Claims having such subordination rights, and such subordination
rights shall be deemed waived, released, discharged, and terminated as of the Effective Date.
Except as otherwise specifically provided for in the Plan, distributions to the various Classes of
Claims hereunder shall not be subject to levy, garnishment, attachment, or like legal process by
any Holder of a Claim by reason of any subordination rights or otherwise, so that each Holder of
a Claim shall have and receive the benefit of the distributions in the manner set forth in the Plan.

                       (b)    Except as otherwise provided in the Plan (including Plan Exhibits),
the Confirmation Order, or another order of the Bankruptcy Court, the right of the Debtors or the
Reorganized Debtors to seek subordination of any Claim or Interest pursuant to section 510 of
the Bankruptcy Code is fully reserved, and the treatment afforded any Claim or Interest that
becomes a subordinated Claim or Interest at any time shall be modified to reflect such
subordination. Unless the Plan (including Plan Exhibits) or the Confirmation Order otherwise
provide, no distributions shall be made on account of a Claim subordinated pursuant to this
Article 10.8(b) unless ordered by the Bankruptcy Court.

                       (c)     Notwithstanding anything herein to the contrary, nothing in the
Plan shall impair, prejudice, release, compromise or waive any rights, Claims, Causes of Action,
defenses or remedies of any Holder of Priority First Lien Claims arising under the Priority
Intercreditor Agreement against (i) any Holder of First Lien Claims unless both Class 2B and
Class 2B are Accepting Classes, in which case the Holders of Priority First Lien Claims will
solely waive any requirement that Holders of First Lien Claims turn over any recovery received
pursuant to Article 4.2 of this Plan, or (ii) any Holder of Second Lien Claims unless both Class
3B and Class 3C are Accepting Classes, in which case the Holders of Priority First Lien Claims

                                                54
19-10384-shl     Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05             Main Document
                                           Pg 61 of 70


will solely waive any requirement that Holders of Second Lien Claims turn over any recovery
received pursuant to Article 4.3 of this Plan.

                10.9 Protection Against Discriminatory Treatment. Consistent with section
525 of the Bankruptcy Code and paragraph 2 of Article VI of the United States Constitution, no
Governmental Unit shall discriminate against the Reorganized Debtors or deny, revoke, suspend,
or refuse to renew a license, permit, charter, franchise, or other similar grant to, condition such a
grant to, discriminate with respect to such a grant against, the Reorganized Debtors, or another
entity with whom such the Reorganized Debtors has been associated, solely because the Debtors
has been a debtor under chapter 11, has been insolvent before the commencement of the Chapter
11 Cases (or during the Chapter 11 Cases but before the Debtors is granted or denied a
discharge), or has not paid a debt that is dischargeable in the Chapter 11 Cases.

               10.10 Recoupment. In no event shall any Holder of Claims or Interests be
entitled to recoup any Claim or Interest against any Claim, right, or Cause of Action of the
Debtors or the Reorganized Debtors, as applicable, unless such Holder actually has performed
such recoupment and provided notice thereof in writing to the Debtors on or before the Effective
Date, notwithstanding any indication in any proof of Claim or Interest or otherwise that such
Holder asserts, has, or intends to preserve any right of recoupment.

                 10.11 Release of Liens. Except as otherwise provided in the Plan or in any
contract, instrument, release, or other agreement or document created pursuant to the Plan, on the
Effective Date, all mortgages, deeds of trust, Liens, pledges, or other security interests against
any property of the Estates shall be fully released, and discharged, and all of the right, title, and
interest of any Holder of such mortgages, deeds of trust, Liens, pledges, or other security
interests shall revert to the Reorganized Debtors and its successors and assigns.

               10.12 Reimbursement or Contribution. If the Bankruptcy Court disallows a
Claim for reimbursement or contribution of an entity pursuant to section 502(e)(1)(B) of the
Bankruptcy Code, then to the extent that such Claim is contingent as of the Effective Date, such
Claim shall be forever Disallowed notwithstanding section 502(j) of the Bankruptcy Code,
unless prior to the Effective Date (1) such Claim has been adjudicated as noncontingent or (2)
the relevant Holder of a Claim has filed a noncontingent proof of Claim on account of such
Claim and a Final Order has been entered determining such Claim as no longer contingent.

                                          ARTICLE XI

                                 CONDITIONS PRECEDENT

                11.1 Conditions to Confirmation. The following are conditions precedent to
the Confirmation of the Plan, each of which may be satisfied or waived in accordance with
Article 11.3 of this Plan:

                       (a)     the Bankruptcy Court shall have entered the Disclosure Statement
Order.




                                                 55
19-10384-shl    Doc 252      Filed 03/25/19 Entered 03/25/19 20:01:05            Main Document
                                           Pg 62 of 70


               11.2 Conditions to the Effective Date of the Plan. The following are
conditions precedent to the occurrence of the Effective Date, each of which may be satisfied or
waived in accordance with Article 11.3 of this Plan:

                      (a)     the Bankruptcy Court shall have entered the Disclosure Statement
Order, and such order shall be a Final Order;

                       (b)    the Bankruptcy Court shall have entered the Confirmation Order,
and such order shall be a Final Order;

                      (c)     the payment by the Debtors of all fees and expenses of the DIP
Agent and Priority First Lien Administrative Agent, including Paul, Weiss, Rifkind, Wharton &
Garrison LLP, Houlihan Lokey, Inc., and Fortgang Consulting LLC;

                        (d)     all Plan Transaction Documents shall be in form and substance
satisfactory to the Priority First Lien Administrative Agent;

                     (e)    all conditions precedent set forth in the New First Lien Credit
Agreement shall have been satisfied or waived pursuant to the terms thereof;

                      (f)     the organizational documents of the Reorganized Debtors as
contemplated herein shall be in form and substance satisfactory to the Priority First Lien
Administrative Agent, shall have been adopted and (where required by applicable law) filed with
the applicable authorities of the relevant jurisdictions of organization and shall have become
effective in accordance with such jurisdiction’s corporation or limited liability company laws;

                        (g)   all authorizations, consents, certifications, regulatory approvals,
rulings, no action letters, opinions, or other documents or actions required by any law,
regulation, or order to be received or to occur in order to implement and effectuate the Plan on
the Effective Date shall have been obtained (and evidence thereof shall have been delivered to
the Priority First Lien Lender) or shall have occurred unless such failure will not have a material
adverse effect on the Reorganized Debtors;

                      (h)    after occurrence of the Effective Date and payment of all amounts
contemplated in connection therewith (including any Cure Amounts), the Reorganized Debtors
shall emerge with a minimum of $10 million of cash or cash equivalents, or shall reasonably
expect to build to $10 million of cash or cash equivalents within 60 days of the Effective Date
(the “Minimum Liquidity Condition Precedent”); and

                      (i)     all statutory fees and obligations then due and payable to the
Office of the United States Trustee shall have been paid and satisfied in full.

                11.3 Waiver of Conditions Precedent. The conditions set forth in Articles
11.1 and 11.2 may be waived, in whole or in part, by agreement of (a) the Debtors and (b) the
Priority First Lien Administrative Agent, without any notice to any other parties-in-interest or the
Bankruptcy Court and without a hearing.



                                                56
19-10384-shl     Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05             Main Document
                                           Pg 63 of 70


               11.4 Notice of Effective Date. The Debtors shall file with the Bankruptcy
Court a notice of the occurrence of the Effective Date within a reasonable period of time after the
conditions in Article 11.2 of this Plan have been satisfied or waived pursuant to Article 11.3 of
this Plan.

               11.5 Effect of Non-Occurrence of Conditions to Consummation. If prior to
consummation of the Plan, the Confirmation Order is vacated pursuant to a Final Order, then
except as provided in any order of the Bankruptcy Court vacating the Confirmation Order, the
Plan will be null and void in all respects, and nothing contained in the Plan or Disclosure
Statement shall (a) constitute a waiver or release of any Claims, Interests, or Causes of Action,
(b) prejudice in any manner the rights of the Debtors or any other Entity, or (c) constitute an
admission, acknowledgment, offer, or undertaking of any sort by the Debtors or any other Entity.

                                          ARTICLE XII

                              RETENTION OF JURISDICTION

                Pursuant to sections 105(a) and 1142 of the Bankruptcy Code, the Bankruptcy
Court shall, to the fullest extent permissible under applicable law, have exclusive jurisdiction of
all matters arising out of, and related to, the Chapter 11 Cases and the Plan, including jurisdiction
to:

                      (a)     resolve any matters related to Executory Contracts and Unexpired
Leases, including: (i) the assumption, assumption and assignment, or rejection of Executory
Contracts or Unexpired Leases to which the Debtors are a party or with respect to which the
Debtors may be liable, and to hear and determine the allowance of Claims resulting therefrom
including the amount of Cure, if any, required to be paid; (ii) any potential contractual obligation
under any Executory Contract or Unexpired Lease that is assumed; (iii) the Reorganized
Debtors’ amendment, modification, or supplement after the Effective Date, pursuant to Article
VIII of the Plan, of the lists of Executory Contracts and Unexpired Leases to be assumed or
rejected or otherwise; and (iv) any dispute regarding whether a contract or lease is or was
executory or expired;

                       (b)     adjudicate any and all adversary proceedings, applications, and
contested matters that may be commenced or maintained pursuant to the Chapter 11 Cases, this
Plan, or that were the subject of proceedings before the Bankruptcy Court prior to the Effective
Date, proceedings to adjudicate the allowance of Disputed Claims and Disputed Interests, and all
controversies and issues arising from or relating to any of the foregoing;

                       (c)    ensure that distributions to Holders of Allowed Claims are
accomplished as provided herein and adjudicate any and all disputes arising from or relating to
distributions under the Plan;

                         (d)    allow in whole or in part, disallow in whole or in part, determine,
liquidate, classify, estimate, or establish the priority, secured or unsecured status, or amount of
any Claim or Interest, including hearing and determining any and all objections to the allowance
or estimation of Claims or Interests filed, both before and after the Confirmation Date, including

                                                 57
19-10384-shl     Doc 252        Filed 03/25/19 Entered 03/25/19 20:01:05          Main Document
                                              Pg 64 of 70


any objections to the classification of any Claim or Interest, and the resolution of request for
payment of any Administrative Claim;

                          (e)    hear and determine or resolve any and all matters related to Causes
of Action;

                     (f)     enter and implement such orders as may be appropriate if the
Confirmation Order is for any reason stayed, revoked, modified, and/or vacated;

                     (g)         issue and implement orders in aid of execution, implementation, or
consummation of this Plan;

                       (h)    consider any modifications of this Plan, to cure any defect or
omission, or to reconcile any inconsistency in any order of the Bankruptcy Court, including,
without limitation, the Confirmation Order;

                      (i)    hear and determine all applications for allowance of compensation
and reimbursement of Professional Claims under this Plan or under sections 330, 331, 503(b),
1103, and 1129(a)(4) of the Bankruptcy Code;

                       (j)     determine requests for the payment of Claims entitled to priority
under section 507(a)(1) of the Bankruptcy Code, including compensation and reimbursement of
expenses of parties entitled thereto;

                     (k)    adjudicate, decide, or resolve any and all matters related to section
1141 of the Bankruptcy Code;

                       (l)    hear and determine disputes arising in connection with the
interpretation, implementation, or enforcement of this Plan or the Confirmation Order, including
disputes arising under agreements, documents, or instruments executed in connection with this
Plan and disputes arising in connection with any Entity’s obligations incurred in connection with
the Plan;

                       (m)    hear and determine all suits or adversary proceedings to recover
assets of the Debtors and property of their Estates, wherever located;

                      (n)     hear and determine matters concerning state, local, and federal
taxes in accordance with sections 346, 505, and 1146 of the Bankruptcy Code;

                          (o)    resolve any matters relating to the pre- and post-confirmation sales
of the Debtors’ assets;

                          (p)    hear any other matter not inconsistent with the Bankruptcy Code;

                      (q)     hear and determine all disputes involving the existence, nature, or
scope of the Debtors’ discharge, including the dischargeability of any claim;

                          (r)    enter a Final Decree closing the Chapter 11 Cases;

                                                  58
19-10384-shl     Doc 252      Filed 03/25/19 Entered 03/25/19 20:01:05             Main Document
                                            Pg 65 of 70


                       (s)     enforce all orders previously entered by the Bankruptcy Court; and

                      (t)      hear and determine all matters relating to any Bankruptcy Code
section 510(b) Claims.

All of the foregoing applies following the Effective Date; provided, that from the Confirmation
Date through the Effective Date, in addition to the foregoing, the Bankruptcy Court shall retain
jurisdiction with respect to all other matters of this Plan that were subject to its jurisdiction prior
to the Confirmation Date; provided, further, that the Bankruptcy Court shall not have nor retain
exclusive jurisdiction over any post-Effective Date agreement. Nothing contained herein shall
be construed to increase, decrease or otherwise modify the independence, sovereignty, or
jurisdiction of the Bankruptcy Court.

                                          ARTICLE XIII

                               MISCELLANEOUS PROVISIONS

               13.1 Binding Effect. Upon the Effective Date, this Plan shall be binding upon
and inure to the benefit of the Debtors, the Reorganized Debtors, all current and former Holders
of Claims, all current and former Holders of Interests, and all other parties-in-interest and their
respective heirs, successors, and assigns.

                13.2 Payment of Statutory Fees. All fees payable pursuant to section 1930 of
title 28 of the United States Code, as of the entry of the Confirmation Order as determined by the
Bankruptcy Court at the Confirmation Hearing, shall be paid on the Effective Date. The
Reorganized Debtors shall continue to pay fees pursuant to section 1930 of title 28 of the United
States Code until the Chapter 11 Cases are closed by entry of the Final Decree.

               13.3 Modification and Amendments. The Debtors may alter, amend, or
modify this Plan under section 1127(a) of the Bankruptcy Code at any time prior to the
Confirmation Date. After the Confirmation Date and prior to substantial consummation of this
Plan as defined in section 1101(2) of the Bankruptcy Code, the Debtors may under section
1127(b) of the Bankruptcy Code, institute proceedings in the Bankruptcy Court to remedy any
defect or omission or reconcile any inconsistencies in this Plan, the Disclosure Statement, or the
Confirmation Order, and such matters as may be necessary to carry out the purposes and effects
of this Plan.

               13.4 Confirmation of the Plan. The Debtors request Confirmation of the Plan
under section 1129(b) of the Bankruptcy Code with respect to any Impaired Class that does not
accept the Plan pursuant to section 1126 of the Bankruptcy Code. The Debtors reserve the right
to amend the Plan to any extent that Confirmation pursuant to section 1129(b) of the Bankruptcy
Code requires modification.

               13.5 Additional Documents. On or before the Effective Date, the Debtors
may file with the Bankruptcy Court such agreements or other documents as may be necessary or
appropriate to effectuate and further evidence the terms and conditions of the Plan. The Debtors
or the Reorganized Debtors, as applicable, and Holders of Claims receiving distributions
pursuant to the Plan and all other parties in interest shall, from time to time, prepare, execute,
                                                  59
19-10384-shl    Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05           Main Document
                                          Pg 66 of 70


and deliver any agreements or documents and take any other actions as may be necessary or
advisable to effectuate the provision and intent of the Plan.

                 13.6 Dissolution of Creditors’ Committee. Effective on the Effective Date,
the Creditors’ Committee shall dissolve automatically, and the members thereof (solely in their
capacities as Creditors’ Committee members) shall be released, exculpated, and discharged from
all their duties relating to the Chapter 11 Cases in accordance with Article X hereof.

               13.7 Request for Expedited Determination of Taxes. The Reorganized
Debtors shall have the right to request an expedited determination under section 505(b) of the
Bankruptcy Code with respect to tax returns of the Debtors filed, or to be filed, for any and all
taxable periods ending after the Petition Date through the Effective Date.

               13.8   Revocation, Withdrawal, or Non-Consummation.

                     (a)     Right to Revoke or Withdraw. The Debtors reserve the right to
revoke or withdraw this Plan at any time prior to the Effective Date and file subsequent chapter
11 plans.

                        (b)    Effect of Withdrawal, Revocation, or Non-Consummation. If
the Debtors revoke or withdraw this Plan prior to the Effective Date, or if the Confirmation Date
or the Effective Date does not occur, then this Plan and any settlement or compromise approved
as part of this Plan (including the fixing or limiting to an amount certain any Claim or Class of
Claims or the allocation of the distributions to be made hereunder), the assumption or rejection
of Executory Contracts or Unexpired Leases effected by this Plan, and any document or
agreement executed pursuant to this Plan shall be null and void in all respects. In such event,
nothing contained herein or in the Disclosure Statement, and no acts taken in preparation for
consummation of this Plan, shall be deemed to constitute a waiver or release of any Claims,
Interests, or Causes of Action by or against the Debtors or any other Entity, to prejudice in any
manner the rights and defenses of the Debtors, the Holder of a Claim or Interest, or any Entity in
any further proceedings involving the Debtors, or to constitute an admission, acknowledgement,
offer, or undertaking of any sort by the Debtors or any other Entity.

               13.9 Notices. After the Effective Date, any pleading, notice, or other document
required by the Plan to be served on or delivered to the Reorganized Debtors shall be served on:

               If to the Debtors:

               c/o Trident Holding Company, LLC
               930 Ridgebrook Rd., 3rd Floor
               Sparks, MD 21152
               Attn.: David F. Smith, III (david.smith@tridentusahealth.com)
               Chief Financial Officer

               with a copy to:

               Skadden, Arps, Slate, Meagher & Flom LLP
               Four Times Square

                                               60
19-10384-shl    Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05          Main Document
                                          Pg 67 of 70


               New York, New York 10036
               Attn: Paul D. Leake
                     Jason N. Kestecher

               – and –

               Skadden, Arps, Slate, Meagher & Flom LLP
               155 North Wacker Drive, Suite 2700
               Chicago, Illinois 60606
               Attn: James J. Mazza, Jr.
                     Justin M. Winerman

               If to the DIP Agent:

               Silver Point Finance, LLC
               c/o Credit Administration Dept.
               Attn: Joanna Holte
               Two Greenwich Plaza
               Greenwich, CT 06830
               E-mail: Creditadmin@silverpointcapital.com
               Phone: (203) 542-4230

               with a copy to:

               Paul, Weiss, Rifkind, Wharton & Garrison LLP
               1285 Avenue of the Americas
               New York, New York 10019
               Attn: Robert A. Britton
                      Alexander N. Woolverton

               If to the Office of the United States Trustee:

               Office of the United States Trustee for the Southern District of New York
               U.S. Federal Office Building
               201 Varick Street, Suite 1006
               New York, New York 10014
               Attn: Brian Masumoto
                      Shannon Scott

               If to the Creditors’ Committee:

               Kilpatrick, Townsend, & Stockton LLP
               1114 Avenue of the Americas
               New York, NY 10036




                                               61
19-10384-shl    Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05            Main Document
                                          Pg 68 of 70


               Attn: David M. Posner
                     Gianfranco Finizio

After the Effective Date, the Reorganized Debtors have authority to send a notice to Entities
providing that, to continue to receive documents pursuant to Bankruptcy Rule 2002, they must
file a renewed request to receive documents pursuant to Bankruptcy Rule 2002. After the
Effective Date, the Debtors and Reorganized Debtors are authorized to limit the list of Entities
receiving documents pursuant to Bankruptcy Rule 2002 to those Entities who have filed such
renewed requests.

               13.10 Term of Injunctions or Stays. Unless otherwise provided in the Plan or
in the Confirmation Order, all injunctions or stays in effect in the Chapter 11 Cases pursuant to
sections 105 or 362 of the Bankruptcy Code or any order of the Bankruptcy Court, and existing
on the Confirmation Date (excluding any injunctions or stays contained in the Plan or the
Confirmation Order) shall remain in full force and effect until the Effective Date. All injunctions
or stays contained in the Plan or the Confirmation Order shall remain in full force and effect in
accordance with their terms.

                13.11 Governing Law. Unless a rule of law or procedure is supplied by federal
law (including the Bankruptcy Code and Bankruptcy Rules) or unless otherwise specifically
stated, the laws of the State of New York shall govern the construction and implementation of
this Plan, any agreements, documents, and instruments executed in connection with this Plan
(except as otherwise set forth in those agreements, in which case the governing law of such
agreements shall control). Corporate governance matters shall be governed by the laws of the
state of incorporation of the Reorganized Debtors.

              13.12 Entire Agreement. Except as otherwise indicated, the Plan supersedes all
previous and contemporaneous negotiations, promises, covenants, agreements, understandings,
and representations on such subjects, all of which have become merged and integrated into the
Plan.

                13.13 Severability. If, prior to Confirmation, any term or provision of the Plan
is held by the Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court shall
have the power to alter and interpret such term or provision to make it valid or enforceable to the
maximum extent practicable, consistent with the original purpose of the term or provision held to
be invalid, void, or unenforceable, and such term or provision shall then be applicable as altered
or interpreted. Notwithstanding any such holding, alteration, or interpretation, the remainder of
the terms and provisions of the Plan will remain in full force and effect and will in no way be
affected, impaired, or invalidated by such holding, alteration, or interpretation. The
Confirmation Order shall constitute a judicial determination and shall provide that each term and
provision of the Plan, as it may have been altered or interpreted in accordance with the
foregoing, is (a) valid and enforceable pursuant to its terms, (b) integral to the Plan and may not
be deleted or modified without the Debtors’ consent, and (c) nonseverable and mutually
dependent.

              13.14 No Waiver or Estoppel. Upon the Effective Date, each Holder of a
Claim or Interest shall be deemed to have waived any right to assert that its Claim or Interest

                                                62
19-10384-shl    Doc 252     Filed 03/25/19 Entered 03/25/19 20:01:05          Main Document
                                          Pg 69 of 70


should be Allowed in a certain amount, in a certain priority, be secured, or not be subordinated
by virtue of an agreement made with the Debtors and/or their counsel, the Creditors’ Committee
and/or its counsel, or any other party, if such agreement was not disclosed in this Plan, the
Disclosure Statement, or papers filed with the Bankruptcy Court.

               13.15 Conflicts. In the event that the provisions of the Disclosure Statement and
the provisions of the Plan conflict, the terms of this Plan shall govern. In the event that the
provisions of the Plan and the provisions of the Confirmation Order conflict, the terms of the
Confirmation Order shall govern.




                                              63
19-10384-shl       Doc 252   Filed 03/25/19 Entered 03/25/19 20:01:05          Main Document
                                           Pg 70 of 70


Dated: March 25, 2019

                                                    Respectfully submitted,

                                                    TRIDENT HOLDING COMPANY, LLC
                                                    AND ITS AFFILIATE DEBTORS


                                                    By:
                                                    Name: David F. Smith
                                                    Title: Chief Financial Officer




               Joint Plan of Reorganization of Trident Holding Company, LLC, et al.
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